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                           EXHIBIT

                                  “C”
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                                                                                 Filed: 8/25/2017 1:52 PM
                                                                                 Janice Staples
                                                                                 District Clerk
                                                                                 Anderson County, Texas
                                                                                 Shirley Furnish
                                         Cause No. DCCV16-356-349

     CITY OF PALE STINE, TEXAS,                       §           IN THE DISTRICT COURT
                       Plaintiff,                     §
                                                      §
     VS.                                              §
                                                      §
     JERRYLAZA,                                       §
                                Defendant.            §
                                                      §        ANDERSON COUNTY, TEXAS
     JERRYLAZA,                                       §
                                Counter-plaintiff,    §
                                                      §
     vs.                                              §
                                                      §
     CITY OF PALES TINE, MIKE                         §
     ALEXANDER, AND RONALD STUTES,                    §
                       Counter-defendants.            §           349th JUDICIAL DISTRICT

                           COUNTER-DEFENDANT CITY OF PALESTINE'S
                            MOTION TO STRIKE AND MOTION IN THE
                                  ALTERNATIVE TO SEVER

              The City of Palestine, Texas, Plaintiff in this lawsuit and counter-defendant in the

     Counterclaim filed by Jerry Laza, moves the Court to strike the First and Second Amended

     Counterclaims filed by Jerry Laza. In the alternative, the City of Palestine moves that the

     court sever the counterclaims filed by Jerry Laza.

                                               INTRODUCTION

              In June 2016, the City of Palestine filed a lawsuit against Jerry Laza for civil

     penalties and injunctive relief. After an initial round of discovery was finally complete in

     January 2017, the City requested a temporary injunction hearing, which was set for March 3.

     Defendant Laza moved to postpone that hearing, and the court determined a temporary

     injunction hearing would not be necessary if a swift trial on the merits could be scheduled.

     That trial was scheduled for June 5, 2017.


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             After Defendant Jerry Laza announced not ready for trial (approximately one year

     after the suit was filed), a temporary injunction hearing was held on June 7 and 8. Due to

     delays in obtaining the transcript of the hearing, no ruling on the temporary injunction has

     been issued. Trial is scheduled for September 18, 2017.

              On August 18, 2017, 31 days prior to the trial setting, but 435 days after the lawsuit

     was filed, Jerry Laza filed his First Amended Counterclaim (Exhibit A), which included new

     counterclaims against the City of Palestine as well as against Mike Alexander, City

     Manager, Ronald Stutes, City Attorney, and "Defendant, John or Jane Does 1-9, City

     Council Persons." 1 In that pleading, for the first time, Jerry Laza alleges violations of the

     Texas Open Meetings Act, violation of constitutional rights pursuant to §1983 of Title 42 of

     the United States Code, the Texas Constitution (Article I, §17 and Article I, § 19), Texas's

     common law of contracts, the Contracts Clause of the United States Constitution, the Fifth

     Amendment to the United States Constitution, and the Fourteenth Amendment to the United

     States Constitution.

              On August 21, 2017, 28 days prior to the trial setting. Jerry Laza filed his Second

     Amended Counterclaim (Exhibit B) which includes the same allegations included in the first

     amended counterclaim.

                                             MOTION TO STRIKE

              On May 8, 2017, this court entered a scheduling order (Exhibit C) which required

     Amended Pleadings asserting new claims or defenses to be filed by May 10, 2017, and other

     amended pleadings to be filed by May 30, 2017. While the trial setting changed, the


     1
      Counsel for Counter-plaintiff was apparently unable to visit the City of Palestine's website to learn how many
     councilmembers the City of Palestine has (six, not 9), or what the names of those councilmembers are.


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     deadline for filing amended pleadings had passed and none of these claims had been made

     prior to May 10.

              In any event, the injection of new claims and 11 new parties (9 of which have not yet

     been named) is nothing more than a transparent attempt to obtain further delay of the

     September 18 trial setting. The new claims are not only untimely, they are not well-

     supported.

              A review of the new claims demonstrates how empty they are, and how clearly they

     are designed to serve no purpose other than delay. For example:

               •   Paragraph 47 of the Second Amended Counterclaim (Paragraph 43 of the First

                   Amended Counterclaim) states "The City Administrator Mike Alexander under

                   sworn testimony, stated that he held meeting with member of the City Council of

                   the City of Palestine and discussed the above captioned and numbered lawsuit as

                   it related to the authority of the City Council to pass an ordinance or resolution

                   authorizing the subject litigation."

               •   Paragraph 48 of the Second Amended Counterclaim (Paragraph 44 of the First

                   Amended Counterclaim) states "On any date published in Anderson County there

                   is no meeting notice related to a City Council meeting held and posted an agenda

                   of that meeting pursuant to Section 551.041 of the Texas Government Code. The

                   posted agenda included did not include any notice or agenda related to the above

                   described authority or ordinance authorization of the above captioned and

                   numbered lawsuit or the authority of the City Attorney or the City

                   Administrator."



      COUNTER-DEFENDANT CITY OF PALES TINE'S MOTION TO
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              The only sworn testimony Mike Alexander (City Manager, not City Administrator)

     has given in this proceeding is an affidavit filed in response to Laza's Rule 12 Motion to

     Show Authority, which this court has denied. That affidavit does not state what Jerry Laza

     asserts. The last paragraph of the affidavit states "The City Council of the City of Palestine

     has been made aware of this suit. No city councilmember has expressed any desire for

     prosecution of the suit to be discontinued." The affidavit doesn't say that he "held meeting

     with member [sic] of the City Council;" it does not say that the council discussed the

     litigation "as it related to the authority of the City Council to pass an ordinance or resolution

     authorizing the subject litigation." The allegation is completely baseless, false, and made

     either knowingly without a basis or negligently without checking the actual document

     (which would also have revealed that Mr. Alexander is the City Manager, not the City

     Administrator).

              In addition, the City Council posted a discussion of this litigation on the following

     dates:

              June 27, 2016

              July 11, 2016

              November 14, 2016

              November 28, 2016

              March 13,2017

              June 12, 2017

              July 10, 2017

              August 14, 2107



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             Although the unintelligible and ungrammatical allegations in Paragraph 48 are

     difficult to discern, when read in connection with Paragraph 50 (Paragraph 46 of the First

     Amended Counterclaim), which alleges that the City Attorney and City Administrator and

     City Council "heard and discussed" the lawsuit at an unposted meeting "even though the

     subject was not listed on any posted agenda," it is clear that Jerry Laza is alleging that the

     City of Palestine has never posted this lawsuit for discussion. In fact, that allegation is

     demonstrably false, as it was posted on eight different occasions. See Exhibit D. So what

     purpose can be served by making such an allegation which is so easily proven false?

     Clearly, it is to attempt to further delay the proceeding.

             A further example of the unsupportable pleadings in the counterclaim is found in the

     middle of paragraph 38 of the Second Amended Counterclaim (Paragraph 35 of the First

     Amended Counterclaim), where Laza asserts that "The Counter-Defendant City through its

     policy and the ultra vires conduct of the City Attorney and the City Administrator,

     unlawfully frustrated and significantly impaired Laza's vested right in having his duly filed

     zoning change applications and other requests heard under the then-existing comprehensive

     plan ... " Laza has, for the first time, recently filed a zoning change application for some of

     the tracts involved in this suit. The applications are currently in process for consideration by

     the Planning and Zoning Commission, as required by City Ordinances and state law. The

     assertion that Laza's right to have applications heard has been frustrated is completely

     without any basis in fact. Instead, it is nothing more than an attempt to keep the suit from

     being heard on schedule.

              The new counterclaims are not timely, unfairly inject new parties and new issues into

     a proceeding a full 14 months after the lawsuit was filed, go directly counter to the Court's

     COUNTER-DEFENDANT CITY OF PALESTINE'S MOTION TO
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     instruction that this case be ready to try on September 18, 2017, and are filed solely for the

     purpose of delay. They should be stricken.

                                     ALTERNATIVE MOTION TO SEVER

              If the Court does not strike the new counterclaims, the City of Palestine requests in

     the alternative that the Court sever Laza' s counterclaims from the claims made by the City

     of Palestine, which have been ready for trial for several months.

              The Tyler Court of Appeals has set out the basis for deciding a Motion for

     Severance:

              Severance of claims under the Texas Rules of Civil Procedure rests within
              the sound discretion of the trial court. Although the trial court has broad
              discretion in determining whether to grant severance, that discretion is not
              unlimited. Instead, the trial court is required to exercise a sound and legal
              discretion within limits created by the circumstances of the particular case.
              That a claim may be severed does not always mean that it must. But there is
              no room for the exercise of discretion when all of the facts and circumstances
              of the case unquestionably require a separate trial to prevent manifest
              injustice, there is no fact or circumstance supporting or tending to support a
              contrary conclusion, and the legal rights of the parties will not be prejudiced
              thereby. A claim is properly severable only if (1) the controversy involves
              more than one cause of action; (2) the severed claim is one that would be the
              proper subject of a lawsuit if independently asserted; and (3) the severed
              claim is not so interwoven with the remaining action that they involve the
              same facts and issues. The controlling reasons for a severance are to do
              justice, avoid prejudice, and further convenience. In re Texas Farm Bureau
              Underwriters, 374 S.W.3d 651, 656 (Tex. App.-Tyler 2012, orig.
              proceeding) (internal citations omitted).Jd.

              In this case, the counterclaim is clearly a separate cause of action from the claims

     made by the City of Palestine, so the first test is met. Similarly, the claims made by Jerry

     Laza could have made in a separate suit. Finally, although the facts and issues in the cases

     appear to be the same at first glance, in fact, they are completely separate. Whether the City

     of Palestine is required to adopt a resolution or ordinance authorizing the lawsuit is neither



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     material nor relevant to any issue in the suit against Jerry Laza. The facts relevant to that suit

     are whether Jerry Laza is operating a junkyard in a commercial and residential zone,

     whether Jerry Laza is operating a commercial business in a residential zone, whether there is

     trash and rubbish gathered on the premises, whether there are junk vehicles on the premises,

     and whether Jerry Laza is storing used lawnmowers outside in front of the primary building

     and on unimproved surfaces. Whether the City of Palestine entered into an oral contract with

     Jerry Laza 20 years ago, and whether the City is complying with the alleged terms of the

     alleged contract, is not relevant to whether Jerry Laza is in violation of city ordinances in

     2016 and 2016. Whether the City Council of the City of Palestine violated the Open

     Meetings Act is not a fact that is material or relevant to whether Jerry Laza is continuing to

     violate the city's zoning ordinance.

             The controlling reasons for severance, to avoid prejudice and do justice, are

     paramount in this situation. The Court advised the parties that this case should be ready for

     trial in June, and expressed its impatience with defendant when it announced that it was not

     ready for trial. The Court has now set this case for September, and has indicated that the

     parties should be ready for trial on September 18. If Jerry Laza had inserted new claims and

     new issues in June, there may have been an adequate time to do the necessary additional

     discovery to prepare defenses to the new claims. But Jerry Laza waited until the very last

     minute in an effort to delay the trial on the civil penalties and injunctive relief that the City

     of Palestine has been seeking since March.

                                             CONCLUSION

              Desperate to avoid the judgment of a court and a jury, Jerry Laza has filed

     counterclaims that attempt to inject new issues, new parties, and new facts into this case.

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     The purpose of this filing is transparently to cause delay in the proceeding. The Court should

     not countenance this strategy.

              Accordingly, the City of Palestine respectfully requests that this Court strike

     Counter-Plaintiff Jerry Laza's First and Second Amended Counterclaims. Alternatively, the

     City of Palestine requests that the Court sever Jerry Laza's counterclaims from the primary

     lawsuit in this case, assign it a separate cause number, and go forward with the trial on the

     main case in September. The City of Palestine also pleads for such other relief in law or in

     equity to which it may be justly entitled.

                                                          Respectfully submitted,

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                                                          ATTORNEYS FOR CITY OF
                                                          PALESTINE


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                                     CERTIFICATE OF SERVICE

            I hereby certify that the foregoing has been served via the electronic service provider
      upon Defendant's counsel of record, Robert Hindman, 5620 Old Bullard Road, Suite 105,
      Tyler Texas 75703-4358 (attomey@tyler.net), and on James C. Mosser, 2805 Dallas
      Parkway, Suite 222, Plano, Texas 75093 (CourtDocuments@MosserLaw.com) on
      August 25, 2017.

                                                  Is/ Ronald D. Stutes
                                                  Ronald D. Stutes




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                                                       EXHIBITS


      A                             Defendant Jerry Laza's Fourth Amended Original Answer and First
                                    Amended Counterclaim

      B                             Defendant Jerry Laza's Fifrth Amended Original Answer and Second
                                    Amended Counterclaim

      c                             Scheduling Order

      D                             Posted City of Palestine Agendas for June 27, 2016, July 11, 2016,
                                    November 14, 2016, November 28, 2016, March 13, 2017, June 12,
                                    2017, July 10, 2017, August 14, 2107




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                            EXHIBIT

                                    ''A''
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                                       NO. DCCV16-356-349
      CITY OF PALESTINE                           IN THE DISTRICT COURT
      Plaintiff,
      v.                                               349TH JUDICIAL DISTRICT
      JERRYLAZA
      Defendant.                                       OF ANDERSON COUNTY, TEXAS
      JERRYLAZA
      Counter Plaintiff                                IN THE DISTRICT COURT
      V.
      CITY OF PALESTINE,                  349TH JUDICIAL DISTRICT
      MIKE ALEXANDER AND
      RONALD STUTES
      Counter-defendants                  OF ANDERSON COUNTY, TEXAS
           DEFENDANT JERRY LAZA'S FIFTH AMENDED ORIGINAL ANSWER AND
             DEFENDANT JERRY LAZA'S SECOND AMENDED COUNTERCLAIM,
       PRSERVATION OF COUNTERCLAIM, AND PETITION FOR RELIEF AND INVERSE
        CONDEMNATION AND VIOLATION OF TEXAS OPEN MEETINGS ACT, SEEKING
            DAMAGES, ALTERNATIVE DAMAGES AND DEMAND FOR JURY TRIAL

       1.   Defendant Jerry Laza asks the Court to order that discovery be conducted
            according to a Level 3 discovery-control plan tailored to the circumstances of the
            suit, as authorized by Texas Rule of Civil Procedure 190.4.
       2.   Defendant generally denies the allegations in plaintiffs first amended original
            petition.
       3.   Defendant designates James C. Mosser as Attorney in Charge and that he
            replaces all other attorneys so designated.
       4.   Defendant denies that plaintiff is entitled to recover in the capacity in which
            plaintiff sues.                                      ·
       5.   There is a defect of the parties.
       6.    Defendant denies plaintiffs allegations that plaintiff gave notice and proof of
             plaintiffs claim.
       DEFENSES
       7.    Paragraphs 1-57 are incorporated herein, in haec verba.
       8.    Defendant is not liable to plaintiff because:
             a.     of an accord and satisfaction. Twenty years ago operated his business in
                    the same fashion as he does today. Previously (twenty years ago) the
                    plaintiff requested that Laza move to his present location and promised to


       DEFENDANT JERRY LAZA'S FIFTH AMENDED ORIGINAL ANSWER AND DEFENDANT JERRY
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       FOR RELIEF AND INVERSE CONDEMNATION AND VIOLATION OF TEXAS OPEN MEETINGS ACT,
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                  rezone his present property to operate his (Laza's) business in the same
                  manner as he had in the past and continues to do today. The plaintiff also
                  agreed to have some of the land designated as agricultural, in return for
                  his move and relocation of his business to his present location. Laza
                  agreed to the demands of the plaintiff and made the move and established
                  his new business location as requested by the plaintiff. Some of the land
                  was rezoned, Laza operates his business today in the same manner and
                  fashion as he did 20 years ago, just as he agree to do, at the specific
                  agreement of the plaintiff.
            b.    plaintiff's own acts or omissions proximately caused or contributed to
                  plaintiffs alleged injuries. If defendant is found liable for damages,
                  defendant intends to seek a reduction of damages under the
                  proportionate-responsibility statute.
            c.    of duress. Twenty years ago, plaintiff engaged in threats of actions toward
                  plaintiff without legal justification, by threatening to prosecute Laza and
                  take Laza's land. The plaintiff's destroyed defendant's free agency, in that
                  he was not of able to counter the threats made by the plaintiff and
                  defendant's free agency was destroyed.
            d.    As a result of the plaintiffs threats and actions, defendant's free will was
                  overcome, causing defendant to act in a manner that defendant would not
                  otherwise have acted, and which defendant was not legally bound to do, in
                  that he acquiesced to the demands of the plaintiff and accepted the
                  relocation demanded by the plaintiff to his present location. Ten years
                  later plaintiff began a series of prosecutions that ended in favor of Laza,
                  now more than four years later the plaintiff is trying a new technique of
                  intimidation and persecution.
            e.     Plaintiffs threats were imminent, in that they were planning to make
                   criminal complaints against Laza, accordingly, defendant had no present
                   means of protecting herself. Therefore, plaintiffs action is barred for
                   duress.
            f.    More than four years ago, Plaintiff originally prosecuted Laza on these
                  very same claims contained in this lawsuit, and Laza was aquitted by a
                  jury; Plaintiff has now waited 10 years to falsely claim that Laza is in
                  violation of the same charges he was acquitted of:
                   i.    Plaintiff has claimed the same facts as previously tried to a jury,
                         and there has been an unreasonable delay in asserting a legal or
                         equitable right; and
                   ii.   Based on the conduct and promises of the Plaintiff, Laza conducted
                         his business for the last 20 years in the same manner and in the

       DEFENDANT JERRY LAZA'S FIFTH AMENDED ORIGINAL ANSWER AND DEFENDANT JERRY
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                         same location he occupies today, and he has made a good faith
                         change of position to his detriment and he has acted in reliance
                         upon the delay by the plaintiff to act for more than the past 4 years.
            g.    of estoppel. Plaintiff, with full knowledge of the provisions of the law as it
                  relates to home rule cities and its rights under those provisions, waives all
                  rights whatsoever under its ordinances when it agrees to relocate and re-
                  zone for the benefit of Laza when it forced Laza to relocate to his present
                  location. Plaintiff agreed to allow Laza to continue operating his business
                  as he did twenty years ago, when it demanded that he relocate. Plaintiff's
                  claims are barred, in whole or in part, by estoppel. Plaintiff falsely
                  represented to Defendant that he would be allowed to operate his
                  business in the same manner and fashion at its present location as he did
                  at its previous location. Plaintiff concealed from Defendant that plaintiff did
                  not rezone all of Laza's property. Plaintiffs representations concealment
                  concerned facts material to Laza's agreement to relocate and
                  consequences of which Plaintiff now complains. Plaintiff had knowledge of
                  the true facts or the means of obtaining such knowledge through due
                  diligence and intended that Defendant act or refrain from acting in reliance
                  on Plaintiff's representations and concealment. Defendant did, in fact, act
                  or refrain from acting in reliance on Plaintiff's representations and
                  concealment to Defendant's detriment.
            h.    of fraud. Prior to Laza's relocation to his present business address as
                  alleged in plaintiff's petition, and in order to persuade defendant to enter
                  into the agreement to relocate, plaintiff stated to defendant that the land
                  would be re-zoned to accommodate Laza's business and that he would be
                  permitted to continue operating in the same manner in the present location
                  as he did in the previous location. The statements were a material
                  misrepresentation in that the re-zoning was limited and subsequently the
                  plaintiff began harassing Laza and filed criminal complaints against Laza
                  for the very conduct thatthe Plaintiff has originally authorized. Plaintiff
                  knew the statements were false when they were made. Plaintiff intended
                  that defendant would act on the statement, and plaintiff did in fact act on
                  the statements by relocating his business. As a result, defendant was
                   injured in that by the plaintiff's conduct in restricting Laza's business
                  activities and the plaintiff's criminal and civil prosecutions.
             L     of laches. Plaintiff previously mor than 20 years ago allowed and insisted
                   that Laza move to his present location, and agree that he could conduct
                   business just as he has for more than 4 years, more than 4 years ago,
                   plaintiff prosecuted claims against the defendant which were to a jury in
                   which the defendant was found not guilty or the plaintiff dismissed the
                   claims, and never prosecuted those claims again until it filed this lawsuit

       DEFENDANT JERRY LAZA'S FIFTH AMENDED ORIGINAL ANSWER AND DEFENDANT JERRY
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                  on the same matters and issues, more than 6 years later; for the following:
                  i.      Unlawfully allow large black animal to run at large 2005;
                  ii.     Allow tall weeds over 18 inches to grow on his property;2003
                  iii.    did not have a screening fence on his property 2003;
                  iv.     failure to keep the property free from rubbish, trash , filth and other
                          impure or unwholesome matter 2006;
                  v.      using his property as a junkyard or salvage yard 2006;
                  vi.     Keeping of livestock within City of Palestine 2009;
                  vii.    then and there allowed horse too be in City of Palestine 2007;
                  viii.   allowed a donkey too be in City of Palestine 2007; (sic).
            j.    of waiver. Plaintiff previously prosecuted all claims contained in its
                  amended petition and previously disposed of them by agreement, reached
                  a settlement that the defendant has complied with, or the defendant was
                  found not guilty of the same claims by a jury.
            k.    of consent. Plaintiff agreed to allow the defendant to continue to operate in
                  the manner in which he is operating and the agreement was reached
                  twenty years ago and again in the years of 2003-2007.
            I.    of ratification. Plaintiff agreed to allow the defendant to continue to operate
                  in the manner in which he is operating and the agreement was reached
                  twenty years ago and again in the years of 2003-2007.
            m.     Of counterclaim.
            n.    Defendant Laza has a pending claim before the City of Palestine Zoning
                  Board related to the zoning and claim for damages, which displaces this
                  court's jurisdiction. and
            o.     of res judicata. Plaintiff has previously tried these same cases and agreed
                   to allow the defendant to continue to operate in the manner in which he is
                   operating and the agreement was reached in the years of 2003-2007.
            p.     Plaintiff has failed to exhaust administrative remedies. Therefore, this
                   cause brought by plaintiff is premature, and there is no issue ripe for
                   determination in this court. Plaintiffs claims, if any, have been waived; and
                   plaintiff is estopped from asserting the claims related to the application of
                   the zoning regulations. Defendant is entitled to a reasonable time to
                   respond to correspondence from the zoning board. The Plaintiff has not
                   objected to the zoning application.


       DEFENDANT JERRY LAZA'S FIFTH AMENDED ORIGINAL ANSWER AND DEFENDANT JERRY
       LAZA'S SECOND AMENDED COUNTERCLAIM, PRSERVATION OF COUNTERCLAIM, AND PETITION
       FOR RELIEF AND INVERSE CONDEMNATION AND VIOLATION OF TEXAS OPEN MEETINGS ACT,
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      Plea to the Jurisdiction
      9.     The City of Palestine does not have standing to prosecute this lawsuit because it
             has not passed an ordinance permitting this litigation and lawsuit and Defendant
             Laza has a pending claim before the City of Palestine Zoning Board related to
             the zoning and claim for damages, which displaces this court's jurisdiction.
      Subject Matter Jurisdiction
      10.    The Court does not have Subject Matter Jurisdiction, because this is a matter
             pending before the zoning board of adjustment in the City of Palestine and it has
             not made a final determination and has not refused to pay compensation.
      Texas Rule of Civil Procedure 12
      11.    Paragraphs 1-57 are incorporated herein, in haec verba.
      12.    Under Tex. R. Civ. P. 12, the plaintiff is required to show its authority to
             prosecute this lawsuit and it has not passed an ordinance of authorization related
             to this lawsuit.
      13.    The attorneys (Ron Stutes or James Hankins) representing the plaintiff in this
             matter do not have the requisite authority by ordinance or resolution to prosecute
             the claims.
       14.   The City Administrator has not been provided the requisite authority by ordinance
             or resolution to hire any attorney to prosecute this lawsuit.
      Special Exceptions
       15.   Jerry Laza specially excepts to Plaintiffs Second Amended Original Petition and
             Request for Temporary and Permanent Injunctions and asks the Court to order
             plaintiff to replead specificity, to give defendant notice of the plaintiff claims and
             cure its pleading defects.
       16.   Defendant specially excepts to paragraphs 8 and 11, because plaintiff's pleading
             does not give fair notice of plaintiffs claim.
             a.     Paragraph 8, claims that there are violations of the Palestine City Code,
                    but fails to attach the subject Palestine Zoning Ordinance(s) as claimed,
                    neither does the plaintiff identify how the subject properties are being used
                    as a junkyard or salvage yard, and fails to plead with sufficient specificity
                    to identify the specific acts that violate the subject Palestine Zoning
                    Ordinance(s) so that defendant may identify the alleged violations or if any
                    exist.. Jerry Laza specially excepts to Plaintiffs First Amended Original
                    Petition and Request for Temporary and Permanent Injunctions and asks
                    the Court to order plaintiff to replead specificity, to give defendant notice of
                    the plaintiff claims and cure its pleading defects.

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             b.    Paragraph 11, claims to identify persons and property other than the
                   defendant or defendant's property that suffer from adverse impacts
                   without specifically identifying those specific sufferings or specific adverse
                   impacts, or specific risks of substantial danger or specific injuries, or what
                   specific ordinance satisfies which subject generic or general complaint so
                   that defendant may identify the alleged violations or if any exist. Plaintiff
                   fails to identify with specificity what impacts, risks or harm, will be or could
                   be irreparable. Plaintiff fails to identify with specificity what neighbors of
                   defendant have experienced rat infestation, caused solely by the
                   defendants actions, or inactions, or what neighbors have done to curb
                   their own rat infestation, or that an occurrence of expansion of any
                   junkyard to the adjacent property has ever taken place, and plaintiff does
                   not identify with specificity and conduct or results or property in paragraph
                    11, so that defendant may identify the alleged violations or if any exist.
                   Jerry Laza specially excepts to Plaintiff's Second Amended Original
                    Petition and Request for Temporary and Permanent Injunctions and asks
                    the Court to order plaintiff to replead specificity, to give defendant notice
                   of the plaintiff claims and cure its pleading defects
             c.    Defendant specially excepts to plaintiffs petition because it merely
                   restates zoning ordinance and does not identify how there is a violation,
                   and does not state how the defendant violates the regulation, how it does
                   promotes public health, safety, morals, or welfare, and it is unreasonable,
                   and it is unconstitutional. The allegations against the defendant are made
                   without any supporting facts and are mere conclusions of the pleader.
                   Plaintiff therefore fails to sustain the legal burden of showing the absence
                   of any facts to support the governing body of the city in passing the
                   complained of sections of the city codes in the proper exercise of its police
                   power. Of which special exception defendant requests judgment of the
                   court.
       ORIGINAL COUNTERCLAIMS
       DEFENDANT JERRY LAZA'S COUNTERCLAIM AND PETITION FOR
       DECLARATORY RELIEF AND INVERSE CONDEMNATION, SEEKING
       DAMAGES AND DEMAND FOR JURY TRIAL

       17.   Paragraphs 1-57 are incorporated herein, in haec verba.
       18.   Without waiving its defenses asserted in the foregoing answer, Laza, as
             Counter-Plaintiff, complains of the City of Palestine, Plaintiff and now
             Counter-Defendant, and for such cause of action alleges by way of counterclaim
             as follows:
       19.   Pursuant to Tex. R. Civ. P. 190.1, counter plaintiff intends to conduct discovery in

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             this case under Level 3.
      20.    At all times mentioned in this petition, counter plaintiff was and is an individual
             residing in Anderson County Texas.
      21.    Counter Defendant City of Palestine, is a home rule municipality located in the
             State of Texas, Anderson County which may be served with process by serving
             Teresa Herrera the City Secretary at City of Palestine, 504 N. Queen Street,
             Palestine, TX 75801 Anderson County, Texas.
      22.    Laza the Counter Plaintiff owns property located in the City of Palestine which is
             the subject of this lawsuit.
      23.    Plaintiff acquired the property on 1998. At that time, the property was
             underdeveloped land, unoccupied and suitable for Laza's use as agreed to by
             the Counter~Piaintiff and the Counter~Defendant, and to be changed to a
             commercial zoning designation, under counter~defendant's zoning and land use
             regulations. Plaintiff acquired the property with the intent of constructing and
             expanding his lawnmower storage and small motor repair facllity, all with the
             agreement of the Counter-Defendant.
       24.   The Counter~Piaintiff, is Jerry Laza, by and through his undersigned counsel,
             sues the Counter-Defendants, the City of Palestine, the City Attorney Ronald
             Stutes and the City Administrator Mike Alexander, ultra vires acts, and for
             injunctive relief and damages resulting from the Defendants' intentional
             deprivation of the Plaintiffs constitutionally protected rights and the ultra vires
             acts of , the City Attorney Ronald Stutes and the City Administrator Mike
             Alexander.
       25.   This action is brought pursuant to Title 42 Section 1983 of the Code of Laws of
             the United States of America, the Texas Constitution, and Texas's common law
             of contracts and Texas Statutes and their ultra vires conduct.
       26.   The City of Palestine, the City Attorney Ronald Stutes and the City Administrator
             Mike Alexander are acting ultra vires because they do not have an ordinance or
             resolution authorizing their respective actions as required by the laws enacted by
             the City of Palestine, Anderson County Texas and the State of Texas.
       JURISDICTIONAL BASIS OF THE CLAIMS
       27.   This action is brought pursuant to United States Constitution Article 1 Section 10
             and 42 U.S.C.A. § 1983 and claims violations of the Plaintiffs civil rights as
             guaranteed by the Contracts Clause and Fourteenth Amendment to the United
             States Constitution and in violation of the Texas Constitution Art. I,§ 17.
       28.   This court has jurisdiction over the claims. This action arises out of the Texas
             Constitution Art. I, § 17 and Counter Plaintiff is citizen of the State of Texas and

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             the Constitution of the United States of America and alleges violations of
             constitutionally protected rights of the Counter~Piaintiff who is a citizen of the
             United States of America, and such Federal Claims are preserved to the United
             States District Court in the Eastern District of Texas, if the claims are not
             satisfactorily adjudicated in the Texas District Court in Anderson County and if
             compensation is not awarded to Counter~Piaintiff Laza.
      29.    The claims brought under the Texas Constitution, common law of contracts and
             statutory law arising from the same operative nucleus of facts and circumstances
             that form part of the same case and controversy.
      30.    All of the actions of the Counter Defendant giving rise to this action substantially
             occurred in Anderson County, Texas.
      31.    The amount in controversy exceeds $600,000; exclusive of statutory entitlement
             to attorney's fees and costs.
      THE PARTIES
      32.    The Counter Plaintiff, Jerry Laza, at all relevant times owned the lots identified on
             Exhibit A attached hereto and incorporated in haec verba. The lots are located in
             the City of Palestine Anderson County Texas.
      33.    The Counter Defendant, City of Palestine, (The City) is a Home Rule City
             empowered by and deriving its authority from the Texas Constitution and Texas
             Statutes and the duly enacted City ordinances.
      Causes of Action
      34.    Paragraphs 1-57 are incorporated herein, in haec verba.
       35.   This cause of action is brought as a result of the City's purposeful and ostensibly
             authorized violations of Laza's rights under Article 1, Section 10 and the Fifth
             Amendment and the Fourteenth Amendment of the United States Constitution,
             and such Federal Claims are preserved to the United States District Court in the
             Eastern District of Texas, if the claims are not satisfactorily adjudicated in the
             Texas District Court in Anderson County and if compensation is not awarded to
             Counter-Plaintiff Laza and are in the alternative to the State Court Claims.
       36.   This cause of action is brought as a result of the City's purposeful and ostensibly
             authorized violations of Laza's rights under The Texas Constitution, Art. I,§ 17.
             The Counter-Defendant continues its violation of Texas Constitution Art. I,§ 19
             Sec. 19.
       37.   In 2012, the City adopted ordinances, which changed the future land use
             designation of Laza's property after Laza had been using the property for over 10
             years in a commercial and agricultural manner. The City's legislative action
             unreasonably impaired, altered and extinguished existing terms and its

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             obligations under a agreement with Laza in violation of the contracts clause of
             the Constitution of the United States and The Texas Constitution, Art. I, § 17. The
             Counter-Defendant continues its violation of Texas Constitution Art. I, § 19 Sec.
             19.
       38.   This Single-Family Residential land use designation was adopted and continued
             based upon improper pretextual motives and for arbitrary and capricious reasons
             without any rational basis, in violation of due process due process clause of the
             United States Constitution and The Texas Constitution, Art. I,§ 17, the Counter-
             Defendant continues its violation of Texas Constitution Art. I,§ 19 Sec. 19.
             Counter-Defendants agreed 20 years ago to change Laza'a zoning to
             commercial. Counter-Defendant has refused to accept Laza's prior use and
             change the zoning of certain parcels to commercial and have prosecuted Laza
             because of his 20 year use of the subject parcels as counter-defendants agreed.
             Even after the criminal prosecution and the acquittal by a jury, 10 years ago; in
             2016, the Counter-Defendant after permitting Laza's use of the parcels as
             commercial and agricultural properties, filed a civil lawsuit to force Laza to
             change his 20 year old use of the property as a commercial use to single family
             residential land, based upon improper pretextual motives and for arbitrary and
             capricious reasons without any rational basis, in violation of due process due
             process clause of the United States Constitution and The Texas Constitution, Art.
             I,§ 17, the Counter-Defendant continues its violation of Texas Constitution Art. I,
             § 19 Sec. 19. The Counter-Defendant City thrm.igh its policy and the ultra vires
             conduct of the City Attorney and the City Administrator, unlawfully frustrated and
             significantly impaired Laza's vested right in having his duly filed zoning change
             applications and other requests heard under the then-existing comprehensive
             plan, which permitted a land use consistent with the Counter-Defendant's prior
             agreement. The Counter-Defendant's combined legislative and quasi-judicial
             actions were ultra vires and caused an unlawful restriction in the use of Laza's
             property and a loss in its value.
       39.   The Counter-Defendant's intentional conduct also caused Laza to be treated
             differently than other similarly situated persons in violation of the equal protection
             clause. These violations were done under the color and authority of state law and
             constitute state action. The aforementioned conduct gives rise to the state claims
             for breach of contract, declaratory relief, and inverse condemnation and in the
             alternative and further preserved to the United States District Court, an unlawful
             taking under the Constitution of the United States and the Constitution of the
             State of Texas. The Counter-Defendant fails and refuses to comply with Sec. 19.
             "No citizen of this State shall be deprived of life, liberty, property, privileges or
             immunities, or in any manner disfranchised, except by the due course of the law
             of the land." Tex. Canst. art. I, § 19.
       40.   All conditions precedent have occurred.

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      41.   Defendant requests that plaintiff deliver to defendant requests for disclosure
            pursuant to Tex. R. Civ. P. 194.
      42.   Defendant seeks monetary relief over $200,000 but not more than $1,000,000.
            Tex. R. Civ. P. 47(c)(4).
      Violation of Texas Open Meetings Act
      43.   Paragraphs 1-57 are incorporated herein, in haec verba.
      44.   Defendant, City Administrator, is the city administrator of the City of Palestine,
            Anderson County, Texas. Defendant, Mike Anderson, may be served at the City
            of Palestine, 504 N. Queen Street, Palestine, TX 75801 Anderson County, Texas
            by serving the City Secretary.
      45.   Defendant, John or Jane Does 1-9, City Council Persons, are the Council
            Persons of the City of Palestine, Anderson County, Texas. Defendants, John or
            Jane Does 1-9, may be served at the City of Palestine, 504 N. Queen Street,
            Palestine, TX 75801 Anderson County, Texas by serving the City Secretary.
      46.   This suit is brought against each City Council Person individually and as
            members of the City Council of the City of Palestine Anderson County Texas.
      47.   The City Administrator Mike Alexander under sworn testimony, stated that he
            held meeting with member of the City Council of the City of Palestine, and
            discussed the above captioned and numbered lawsuit as it related to the
            authority of the City Council to pass an ordinance or resolution authorizing the
            subject litigation.
      48.   On any date published in Anderson County there is no meeting notice related to
            a City Council meeting held and posted an agenda of that meeting pursuant to
            Section 551.041 of the Texas Government Code. The posted agenda included
            did not include any notice or agenda related to the above described authority or
            ordinance authorization of the above captioned and numbered lawsuit or the
            authority of the City Attorney or the City Administrator.
      49.   The Texas Open Meetings Act requires written notice of the subject of each
            meeting under Section 551.041 of the Texas Government Code.
      50.   In violation of Section 551.041 of the Texas Government Code, the City Attorney
            and the City Administrator and John Does 1-9, also heard and discussed the
            above captioned and numbered lawsuit at the unnoticed meeting, even though
            this subject was not listed on any posted agenda. Nothing on the posted agenda
            indicated the substance of the presentation made by the City Administrator Mike
            Alexander, which covered discussions concerning the authority and the
            ordinance to prosecute this litigation in the above captioned and numbered
            lawsuit.

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      51.    Counter-Plaintiff has standing to sue the city for violation of the Open Meetings
             Act as an "interested person," in that he is a defendant in the original litigation
             and he is the target of the alleged violation.
      52.    Counter-Plaintiff has a probable right of recovery in this action, in that the
             Counter-Defendants are persons that have unlawfully prosecuted claims against
             the Counter-Plaintiff and violated the Texas Open Meetings Act.
      53.    Counter-Plaintiff has a probable right of recovery in this action, in that the City
             Attorney and in concert with the City Administrator have violated Texas Law and
             caused damages to the Counter-Plaintiff.
      54.    Counter-Plaintiff has no adequate remedy at law other than injunctive relief to
             protect plaintiff from the harm threatened, in that the City of Palestine, intends to
             violate the laws of Texas and the United States, and breach its agreements with
             th Counter-Plaintiff, by failing to honor its agreements, and to refuse to allow the
             operation of the Counter-Plaintiffs business as was agreed 20 years ago.
             Monetary damages will not compensate plaintiff for the harm done by Counter-
             Defendant's actions.
      55.    The court should issue a temporary injunction to preserve the status quo prior to
             the conduct by counter-defendant in violation of the Open Meetings Act;
      56.    On final trial, the temporary injunction should be made permanent;
       57.   Counter-Plaintiff should be awarded attorney fees and costs under Section
             551.142(b) of the Texas Government Code and under Section 37.009 of the
             Texas Civil Practice and Remedies Code, togetherwith pre-and postjudgment
             interest on those amounts at the legal rate of 5%; and Counter-Plaintiff be
             awarded any other relief to which plaintiff is entitled.
       Prayer
       58.   For these reasons, Defendant requests that the court dismiss this lawsuit, for
             lack of jurisdiction and lack of authority of plaintiff to prosecute this lawsuit,
             defendant asks the Court to set dismiss plaintiff for failure to replead as to
             special exceptions and, sustain his special exceptions, plea to the jurisdiction and
             order plaintiff to replead and cure its pleading defects and, if plaintiff does not
             cure its defects, strike the defective portions of plaintiffs pleading, and dismiss
             this case as to the claims against the Defendant. To enter judgment for the
             Counter-Plaintiff that his land is use as commercial land and has been for 20
             years, and that the Counter-Defendant has breached its agreements with
             Counter-Plaintiff and has unlawfully taken Laza's land by applying zoning
             ordinances to land in the City of Palestine, that reduces the value of the subject
             land, and applies these laws against the Counter-Plaintiff and not to others and
             treats Laza in a unlawful and disparate manner, in violation of the Texas and

       DEFENDANT JERRY LAZA'S FIFTH AMENDED ORIGINAL ANSWER AND DEFENDANT JERRY
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            United States Constitutions. Award Counter-Plaintiff attorney's fee in the amount
            of $100,000. And if an appeal is filed to the Court of Appeals, attorney's fees in
            the amount of $150,000, and if an appeal to the Texas Supreme Court attorney's
            fees in the amount $200,000.

      Respectfully submitted, MOSSER LAW PLLC
      By: /s/ James C. Mosser
      James C. Mosser
      Texas Bar No. 00789784
      Nicholas D. Mosser
      Texas Bar No. 24075405
      Emai!:CourtDocuments@MosserLaw.com
      2805 Dallas Parkway
      Suite 222
      Plano, Texas 75093
      Tel. (972) 733-3223
      Fax. (972) 473-0600
      Lawyer for Defendant Jerry Laza
      CERTIFICATE OF SERVICE
      I certify that on August 21, 2017, a true and correct copy of this document was served
      on James Hankins attorney for the City of Palestine electronically through the electronic
      filing manager under Tex. R. Civ. P. 21 and 21a.
      /s/ James C. Mosser
      James C. Mosser




       DEFENDANT JERRY LAZA'S FIFTH AMENDED ORIGINAL ANSWER AND DEFENDANT JERRY
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                            EXHIBIT

                                    ''B''
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                                                                                Filed: 8118/2017 3:40 PM
                                                                                Janice Staples
                                                                                District Clerk
                                         NO. DCCV16-356-349                     Anderson County, Texas
       CITY OF PALESTINE                            IN THE DISTRICT couR'fce staples
       Plaintiff,
       v.                                               349TH JUDICIAL DISTRICT
       JERRYLAZA
       Defendant.                                       OF ANDERSON COUNTY, TEXAS
       JERRYLAZA
       Counter Plaintiff                                IN THE DISTRICT COURT
       v.
       CITY OF PALESTINE,                 349TH JUDICIAL DISTRICT
       MIKE ALEXANDER AND
       RONALD STUTES
       Counter-defendants                 OF ANDERSON COUNTY, TEXAS
          DEFENDANT JERRY LAZA'S FOURTH AMENDED ORIGINAL ANSWER AND
        DEFENDANT JERRY LAZA'S FIRST AMENDED COUNTERCLAIM AND PETITION
        FOR RELIEF AND INVERSE CONDEMNATION AND VIOLATION OF TEXAS OPEN
            MEETINGS ACT, SEEKING DAMAGES AND DEMAND FOR JURY TRIAL

       1.    Defendant Jerry Laza asks the Court to order that discovery be conducted
             according to a Level 3 discovery-control plan tailored to the circumstances of the
             suit, as authorized by Texas Rule of Civil Procedure 190.4.
       2.    Defendant generally denies the allegations in plaintiff's first amended original
             petition.
       3.    Defendant designates James C. Mosser as Attorney in Charge and that he
             replaces all other attorneys so designated.
       4.    Defendant denies that plaintiff is entitled to recover in the capacity in which
             plaintiff sues.
       5.    There is a defect of the parties.
       6.    Defendant denies plaintiff's allegations that plaintiff gave notice and proof of
             plaintiff's claim.
       DEFENSES
       7.     Paragraphs 1-54 are incorporated herein, in haec verba.
       8.     Defendant is not liable to plaintiff because:
             a.      of an accord and satisfaction. Twenty years ago operated his business in
                     the same fashion as he does today. Previously (twenty years ago) the
                     plaintiff requested that Laza move to his present location and promised to
                     rezone his present property to operate his (Laza's) business in the same
                     manner as he had in the past and continues to do today. The plaintiff also
                     agreed to have some of the land designated as agricultural, in return for

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                 his move and relocation of his business to his present location. Laza
                 agreed to the demands of the plaintiff and made the move and established
                 his new business location as requested by the plaintiff. Some of the land
                 was rezoned, Laza operates his business today in the same manner and
                 fashion as he did 20 years ago, just as he agree to do, at the specific
                 agreement of the plaintiff.
            b.   plaintiff's own acts or omissions proximately caused or contributed to
                 plaintiffs alleged injuries. If defendant is found liable for damages,
                 defendant intends to seek a reduction of damages under the
                 proportionate-responsibility statute.
            c.   of duress. Twenty years ago, plaintiff engaged in threats of actions toward
                 plaintiff without legal justification, by threatening to prosecute Laza and
                 take Laza's land. The plaintiff's destroyed defendant's free agency, in that
                 he was not of able to counter the threats made by the plaintiff and
                 defendant's free agency was destroyed.
            d.   As a result of the plaintiff's threats and actions, defendant's free will was
                 overcome, causing defendant to act in a manner that defendant would not
                 otherwise have acted, and which defendant was not legally bound to do, in
                 that he acquiesced to the demands of the plaintiff and accepted the
                 relocation demanded by the plaintiff to his present location. Ten years
                 later plaintiff began a series of prosecutions that ended in favor of Laza,
                 now more than four years later the plaintiff is trying a new technique of
                 intimidation and persecution.
            e.   Plaintiffs threats were imminent, in that they were planning to make
                 criminal complaints against Laza, accordingly, defendant had no present
                 means of protecting herself. Therefore, plaintiff's action is barred for
                 duress.
            f.   More than four years ago, Plaintiff originally prosecuted Laza on these
                 very same claims contained in this lawsuit, and Laza was aquitted by a
                 jury; Plaintiff has now waited 10 years to falsely claim that Laza is in
                 violation of the same charges he was acquitted of:
                 L      Plaintiff has claimed the same facts as previously tried to a jury,
                        and there has been an unreasonable delay in asserting a legal or
                        equitable right; and
                 ii.    Based on the conduct and promises of the Plaintiff, Laza conducted
                        his business for the last 20 years in the same manner and in the
                        same location he occupies today, and he has made a good faith
                        change of position to his detriment and he has acted in reliance
                        upon the delay by the plaintiff to act for more than the past 4 years.


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            g.   of estoppel. Plaintiff, with full knowledge of the provisions of the law as it
                 relates to home rule cities and its rights under those provisions, waives all
                 rights whatsoever under its ordinances when it agrees to relocate and re-
                 zone for the benefit of Laza when it forced Laza to relocate to his present
                 location. Plaintiff agreed to allow Laza to continue operating his business
                 as he did twenty years ago, when it demanded that he relocate. Plaintiff's
                 claims are barred, in whole or in part, by estoppel. Plaintiff falsely
                 represented to Defendant that he would be allowed to operate his
                 business in the same manner and fashion at its present location as he did
                 at its previous location. Plaintiff concealed from Defendant that plaintiff did
                 not rezone all of Laza's property. Plaintiffs representations concealment
                 concerned facts material to Laza's agreement to relocate and
                 consequences of which Plaintiff now complains. Plaintiff had knowledge of
                 the true facts or the means of obtaining such knowledge through due
                 diligence and intended that Defendant act or refrain from acting in reliance
                 on Plaintiff's representations and concealment. Defendant did, in fact, act
                 or refrain from acting in reliance on Plaintiffs representations and
                 concealment to Defendant's detriment.
            h.   of fraud. Prior to Laza's relocation to his present business address as
                 alleged in plaintiff's petition, and in order to persuade defendant to enter
                 into the agreement to relocate, plaintiff stated to defendant that the land
                 would be re-zoned to accommodate Laza's business and that he would be
                 permitted to continue operating in the same manner in the present location
                 as he did in the previous location. The statements were a material
                 misrepresentation in that the re-zoning was limited and subsequently the
                 plaintiff began harassing Laza and filed criminal complaints against Laza
                 for the very conduct that the Plaintiff has originally authorized. Plaintiff
                 knew the statements were false when they were made. Plaintiff intended
                 that defendant would act on the statement, and plaintiff did in fact act on
                 the statements by relocating his business. As a result, defendant was
                 injured in that by the plaintiff's conduct in restricting Laza's business
                 activities and the plaintiff's criminal and civil prosecutions.
            i.   of laches. Plaintiff previously mar than 20 years ago allowed and insisted
                 that Laza move to his present location, and agree that he could conduct
                 business just as he has for more than 4 years, more than 4 years ago,
                 plaintiff prosecuted claims against the defendant which were to a jury in
                 which the defendant was found not guilty or the plaintiff dismissed the
                 claims, and never prosecuted those claims again until it filed this lawsuit
                 on the same matters and issues, more than 6 years later; for the following:
                 i.     Unlawfully allow large black animal to run at large 2005;
                 ii.    Allow tall weeds over 18 inches to grow on his property;2003


       DEFENDANT JERRY LAZA'S FOURTH AMENDED ORIGINAL ANSWER AND
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                   iii.    did not have a screening fence on his property 2003;
                   iv.     failure to keep the property free from rubbish, trash , filth and other
                           impure or unwholesome matter 2006;
                   v.      using his property as a junkyard or salvage yard 2006;
                   vi.     Keeping of livestock within City of Palestine 2009;
                   vii.    then and there allowed horse too be in City of Palestine 2007;
                   viii.   allowed a donkey too be in City of Palestine 2007; (sic).
             j.    of waiver. Plaintiff previously prosecuted all claims contained in its
                   amended petition and previously disposed of them by agreement, reached
                   a settlement that the defendant has complied with, or the defendant was
                   found not guilty of the same claims by a jury.
             k.    of consent. Plaintiff agreed to allow the defendant to continue to operate in
                   the manner in which he is operating and the agreement was reached
                   twenty years ago and again in the years of 2003-2007.
             I.    of ratification. Plaintiff agreed to allow the defendant to continue to operate
                   in the manner in which he is operating and the agreement was reached
                   twenty years ago and again in the years of 2003-2007.
             m.     Of counterclaim. and
             n.     of res judicata. Plaintiff has previously tried these same cases and agreed
                    to allow the defendant to continue to operate in the manner in which he is
                    operating and the agreement was reached in the years of 2003-2007.
             o.     Plaintiff has failed to exhaust administrative remedies. Therefore, this
                    cause brought by plaintiff is premature, and there is no issue ripe for
                    determination in this court. Plaintiff's claims, if any, have been waived; and
                    plaintiff is estopped from asserting the claims related to the application of
                    the zoning regulations. Defendant is entitled to a reasonable time to
                    respond to correspondence from the zoning board. The Plaintiff has not
                    objected to the zoning application.
       Plea to the Jurisdiction
       9.    The City of Palestine does not have standing to prosecute this lawsuit because it
             has not passed an ordinance permitting this litigation and lawsuit.
       Subject Matter Jurisdiction
       10.   The Court does not have Subject Matter Jurisdiction, because this is a matter
             pending before the zoning board of adjustment and it has not made a final
             determination.


       DEFENDANT JERRY LAZA'S FOURTH AMENDED ORIGINAL ANSWER AND
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       Texas Rule of Civil Procedure 12
       11.   Paragraphs 1-54 are incorporated herein, in haec verba.
       12.   Under Tex. R. Civ. P. 12, the plaintiff is required to show its authority to prosecute
             this lawsuit and it has not passed an ordinance of authorization related to this
             lawsuit.
       13.   The attorneys (Ron Stutes or James Hankins) representing the plaintiff in this
             matter do not have the requisite authority by ordinance or resolution to prosecute
             the claims.
       14.   The City Administrator has not been provided the requisite authority by ordinance
             or resolution to hire any attorney to prosecute this lawsuit.

       Special Exceptions
       15.   Jerry Laza specially excepts to Plaintiff's Second Amended Original Petition and
             Request for Temporary and Permanent Injunctions and asks the Court to order
             plaintiff to replead specificity, to give defendant notice of the plaintiff claims and
             cure its pleading defects.
       16.   Defendant specially excepts to paragraphs 8 and 11, because plaintiffs pleading
             does not give fair notice of plaintiff's claim.
             a.     Paragraph 8, claims that there are violations of the Palestine City Code,
                    but fails to attach the subject Palestine Zoning Ordinance(s) as claimed,
                    neither does the plaintiff identify how the subject properties are being used
                    as a junkyard or salvage yard, and fails to plead with sufficient specificity
                    to identify the specific acts that violate the subject Palestine Zoning
                    Ordinance(s) so that defendant may identify the alleged violations or if any
                    exist. Jerry Laza specially excepts to Plaintiffs First Amended Original
                    Petition and Request for Temporary and Permanent Injunctions and asks
                    the Court to order plaintiff to replead specificity, to give defendant notice of
                    the plaintiff claims and cure its pleading defects.
             b.     Paragraph 11, claims to identify persons and property other than the
                    defendant or defendant's property that suffer from adverse impacts
                    without specifically identifying those specific sufferings or specific adverse
                    impacts, or specific risks of substantial danger or specific injuries, or what
                    specific ordinance satisfies which subject generic or general complaint so
                    that defendant may identify the alleged violations or if any exist. Plaintiff
                    fails to identify with specificity what impacts, risks or harm, will be or could
                    be irreparable. Plaintiff fails to identify with specificity what neighbors of
                    defendant have experienced rat infestation, caused solely by the
                    defendants actions, or inactions, or what neighbors have done to curb
                    their own rat infestation, or that an occurrence of expansion of any
                    junkyard to the adjacent property has ever taken place, and plaintiff does

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                   not identify with specificity and conduct or results or property in paragraph
                   11, so that defendant may identify the alleged violations or if any exist.
                   Jerry Laza specially excepts to Plaintiff's Second Amended Original
                   Petition and Request for Temporary and Permanent Injunctions and asks
                   the Court to order plaintiff to replead specificity, to give defendant notice
                   of the plaintiff claims and cure its pleading defects
             c.     Defendant specially excepts to plaintiffs petition because it merely
                    restates zoning ordinance and does not identify how there is a violation,
                    and does not state how the defendant violates the regulation, how it does
                    promotes public health, safety, morals, or welfare, and it is unreasonable,
                    and it is unconstitutional. The allegations against the defendant are made
                    without any supporting facts and are mere conclusions of the pleader.
                    Plaintiff therefore fails to sustain the legal burden of showing the absence
                    of any facts to support the governing body of the city in passing the
                    complained of sections of the city codes in the proper exercise of its police
                    power. Of which special exception defendant requests judgment of the
                    court.
       ORIGINAL COUNTERCLAIMS
       DEFENDANT JERRY LAZA'S COUNTERCLAIM AND PETITION FOR
       DECLARATORY RELIEF AND INVERSE CONDEMNATION, SEEKING
       DAMAGES AND DEMAND FOR JURY TRIAL

       17.   Paragraphs 1-54 are incorporated herein, in haec verba.
       18.   Without waiving its defenses asserted in the foregoing answer, Laza, as Counter-
             Plaintiff, complains of the City of Palestine, Plaintiff and now
             Counter-Defendant, and for such cause of action alleges by way of counterclaim
             as follows:
       19.   Pursuant to Tex. R. Civ. P. 190.1, counter plaintiff intends to conduct discovery in
             this case under Level 3.
       20.   At all times mentioned in this petition, counter plaintiff was and is an individual
             residing in Anderson County Texas.
       21.   Counter Defendant City of Palestine, is a home rule municipality located in the
             State of Texas, Anderson County which may be served with process by serving
             Teresa Herrera the City Secretary at City of Palestine, 504 N. Queen Street,
             Palestine, TX 75801 Anderson County, Texas.
       22.   Laza the Counter Plaintiff owns property located in the City of Palestine which is
             the subject of this lawsuit.
       23.   Plaintiff acquired the property on 1998. At that time, the property was
             underdeveloped land, unoccupied and suitable for Laza's use as agreed to by


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             the Counter-Plaintiff and the Counter-Defendant, and to be changed to a
             commercial zoning designation, under counter-defendant's zoning and land use
             regulations. Plaintiff acquired the property with the intent of constructing and
             expanding his lawn mower storage and small motor repair facility, all with the
             agreement of the Counter-Defendant.
       24.   The Counter Plaintiff, is Jerry Laza, by and through his undersigned counsel,
             sues the Counter Defendants, the City of Palestine, the City Attorney Ronald
             Stutes and the City Administrator Mike Alexander, ultra vires acts, and for
             injunctive relief and damages resulting from the Defendants' intentional
             deprivation of the Plaintiffs constitutionally protected rights and the ultra vires
             acts of . This action is brought pursuant to Title 42 Section 1983 of the Code of
             Laws of the United States of America, the Texas Constitution, and Texas's
             common law of contracts and Texas Statutes and their ultra vires conduct.
       25.   The City of Palestine, the City Attorney Ronald Stutes and the City Administrator
             Mike Alexander are acting ultra vires because they do not have an ordinance or
             resolution authorizing their respective actions as required by the laws enacted by
             the City of Palestine, Anderson County Texas and the State of Texas.
       JURISDICTIONAL BASIS OF THE CLAIMS
       26.   This action is brought pursuant to United States Constitution Article 1 Section 10
             and 42 U.S.C.A. § 1983 and claims violations of the Plaintiff's civil rights as
             guaranteed by the Contracts Clause and Fourteenth Amendment to the United
             States Constitution and in violation of the Texas Constitution Art. I, § 17.
       27.   This court has jurisdiction over the claims. This action arises out of the
             Constitution of the United States of America and alleges violations of
             constitutionally protected rights of the Counter Plaintiff who is a citizen of the
             United States of America and the Texas Constitution Art. I,§ 17 and Counter
             Plaintiff is citizen of the State of Texas.
       28.   The claims brought under the Texas Constitution, common law of contracts and
             statutory law arising from the same operative nucleus of facts and circumstances
             that form part of the same case and controversy.
       29.   All of the actions of the Counter Defendant giving rise to this action substantially
             occurred in Anderson County, Texas.
       30.   The amount in controversy exceeds $600,000; exclusive of statutory entitlement
             to attorney's fees and costs.
       THE PARTIES
       31.   The Counter Plaintiff, Jerry Laza, at all relevant times owned the lots identified on
             Exhibit A attached hereto and incorporated in haec verba. The lots are now
             located in the City of Palestine Anderson County Texas.


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       32.   The Counter Defendant, City of Palestine, (The City) is a Home Rule City
             empowered by and deriving its authority from the Texas Constitution and Texas
             Statutes and the duly enacted City ordinances.
       Causes of Action
       33.   This cause of action is brought as a result of the City's purposeful and ostensibly
             authorized violations of Laza's rights under Article 1, Section 10 and the Fifth
             Amendment and the Fourteenth Amendment of the United States Constitution,
             and the Texas Constitution, Art. I, § 17. The Counter-Defendant continues its
             violation of Texas Constitution Art. I,§ 19 Sec. 19.
       34.   In 2012, the City adopted ordinances, which changed the future land use
             designation of Laza's property after Laza had been using the property for over 10
             years in a commercial and agricultural manner. The City's legislative action
             unreasonably impaired, altered and extinguished existing terms and its
             obligations under a agreement with Laza in violation of the contracts clause of
             the Constitution of the United States.
       35.   This Single-Family Residential land use designation was adopted and continued
             based upon improper pretextual motives and for arbitrary and capricious reasons
             without any rational basis, in violation of due process. Counter-Defendants
             agreed 20 years ago to change Laza'a zoning to commercial. Counter-Defendant
             has refused to accept Laza's prior use and change the zoning of certain parcels
             to commercial and have prosecuted Laza because of his 20 year use of the
             subject parcels as counter-defendants agreed. Even after the criminal
             prosecution and the acquittal by a jury, 10 years ago, in 2016, the Counter-
             Defendant after permitting Laza's use of the parcels as commercial and
             agricultural properties, filed a civil lawsuit to force Laza to change his 20 year old
             use of the property as a commercial use. The Counter-Defendant City through its
             policy and the ultra vires conduct of the City Attorney and the City Administrator,
             unlawfully frustrated and significantly impaired Laza's vested right in having his
             duly filed zoning change applications and other requests heard under the
             then-existing comprehensive plan, which permitted a land use consistent with the
             Counter-Defendant's prior agreement. The Counter-Defendant's combined
             legislative and quasi-judicial actions were ultra vires and caused an unlawful
             restriction in the use of Laza's property and a loss in its value. The Counter-
             Defendant's intentional conduct also caused Laza to be treated differently than
             other similarly situated persons in violation of the equal protection clause. These
             violations were done under the color and authority of state law and constitute
             state action. The aforementioned conduct gives rise to the state claims for
             breach of contract, declaratory relief, and inverse condemnation and in the
             alternative, an unlawful taking under the Constitution of the United States and the
             Constitution of the State of Texas. The Counter-Defendant fails and refuses to
             comply with Sec. 19. "No citizen of this State shall be deprived of life, liberty,


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             property, privileges or immunities, or in any manner disfranchised, except by the
             due course of the law of the land." Tex. Canst. art. I,§ 19.
       36.   All conditions precedent have occurred.
       37.   Defendant requests that plaintiff deliver to defendant requests for disclosure
             pursuant to Tex. R. Civ. P. 194.
       38.   Defendant seeks monetary relief over $200,000 but not more than $1,000,000.
             Tex. R. Civ. P. 47(c)(4).
       Violation of Texas Open Meetings Act
       39.   Paragraphs 1-54 are incorporated herein, in haec verba.
       40.   Defendant, City Administrator, is the city administrator of the City of Palestine,
             Anderson County, Texas. Defendant, Mike Anderson, may be served at the City
             of Palestine, 504 N. Queen Street, Palestine, TX 75801 Anderson County,
             Texas.
       41.   Defendant, John or Jane Does 1-9, City Council Persons, are the Council
             Persons of the City of Palestine, Anderson County, Texas. Defendants, John or
             Jane Does 1-9,'may be served at the City of Palestine, 504 N. Queen Street,
             Palestine, TX 75801 Anderson County, Texas.

       42.   This suit is brought against each City Council Person individually and as
             members of the City Council of the City of Palestine Anderson County Texas.
       43.   The City Administrator Mike Alexander under sworn testimony, stated that he
             held meeting with member of the City Council of the City of Palestine, and
             discussed the above captioned and numbered lawsuit as it related to the
             authority of the City Council to pass an ordinance or resolution authorizing the
             subject litigation.
       44.   On any date published in Anderson County there is no meeting notice related to
             a City Council meeting held and posted an agenda of that meeting pursuant to
             Section 551.041 of the Texas Government Code. The posted agenda included
             did not include any notice or agenda related to the above described authority or
             ordinance authorization of the above captioned and numbered lawsuit or th
             authority of the City Attorney or the City Administrator.
       45.   The Texas Open Meetings Act requires written notice of the subject of each
             meeting under Section 551.041 of the Texas Government Code.
       46.   In violation of Section 551.041 of the Texas Government Code, the City Attorney
             and the City Administrator and John Does 1-9, also heard and discussed the
             above captioned and numbered lawsuit at the an unnoticed meeting, even
             though this subject was not listed on any posted agenda. Nothing on the posted
             agenda indicated the substance of the presentation made by the City


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             Administrator Mike Alexander, which covered discussions concerning the
             authority and the ordinance to prosecute this litigation in the above captioned and
             numbered lawsuit.
      47.    Counter-Plaintiff has standing to sue the city for violation of the Open Meetings
             Act as an "interested person," in that he is a defendant in the original litigation
             and he is the target of the alleged violation.
      48.    Counter-Plaintiff has a probable right of recovery in this action, in that the
             Counter-Defendants are persons that have unlawfully prosecuted claims against
             the Counter-Plaintiff and violated the Texas Open Meetings Act.
       49.   Counter-Plaintiff has a probable right of recovery in this action, in that the City
             Attorney and in concert with the City Administrator have violated Texas Law and
             caused damages to the Counter-Plaintiff.
       50.   Counter-Plaintiff has no adequate remedy at law other than injunctive relief to
             protect plaintiff from the harm threatened, in that the City of Palestine, intends to
             violate the laws of Texas and the United States, and breach its agreements with
             th Counter-Plaintiff, by failing to honor its agreements, and to refuse to allow the
             operation of the Counter-Plaintiff's business as was agreed 20 years ago.
             Monetary damages will not compensate plaintiff for the harm done by Counter-
             Defendant's actions.
       51.   The court should issue a temporary injunction to preserve the status quo prior to
             the conduct by counter-defendant in violation of the Open Meef1ngs Act;
       52.   On final trial, the temporary injunction should be made permanent;
       53.   Counter-Plaintiff should be awarded attorney fees and costs under Section
             551.142(b) of the Texas Government Code and under Section 37.009 of the
             Texas Civil Practice and Remedies Code, together with pre-and postjudgment
             interest on those amounts at the legal rate of 5%; and Counter-Plaintiff be
             awarded any other relief to which plaintiff is entitled.
       Prayer
       54.   For these reasons, Defendant requests that the court dismiss this lawsuit, for
             lack of jurisdiction and lack of authority of plaintiff to prosecute this lawsuit,
             defendant asks the Court to set dismiss plaintiff for failure to replead as to
             special exceptions and, sustain his special exceptions, plea to the jurisdiction and
             order plaintiff to replead and cure its pleading defects and, if plaintiff does not
             cure its defects, strike the defective portions of plaintiffs pleading, and dismiss
             this case as to the claims against the Defendant. To enter judgment for the
             Counter-Plaintiff that his land is use as commercial land and has been for 20
             years, and that the Counter-Defendant has breached its agreements with
             Counter-Plaintiff and has unlawfully taken Laza's land by applying zoning
             ordinances to land in the City of Palestine, that reduces the value of the subject

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            land, and applies these laws against the Counter-Plaintiff and not to others and
            treats Laza in a unlawful and disparate manner, in violation of the Texas and
            United States Constitutions. Award Counter-Plaintiff attorney's fee in the amount
            of $100,000. And if an appeal is filed to the Court of Appeals, attorney's fees in
            the amount of $150,000, and if an appeal to the Texas Supreme Court attorney's
            fees in the amount $200,000.

      Respectfully submitted, MOSSER LAW PLLC
      By: /s/ James C. Mosser
      James C. Mosser
      Texas Bar No. 00789784
      Nicholas D. Mosser
      Texas Bar No. 24075405
      Emaii:CourtDocuments@MosserLaw.com
      2805 Dallas Parkway
      Suite 222
      Plano, Texas 75093
      Tel. (972) 733-3223
      Fax. (972) 473-0600
      Lawyer for Defendant Jerry Laza
      CERTIFICATE OF SERVICE
      I certify that on August 18, 2017, a true and correct copy of this document was served
      on James Hankins attorney for the City of Palestine electronically through the electronic
      filing manager under Tex. R. Civ. P. 21 and 21 a.
      Is/ James C. Mosser
      James C. Mosser




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                            EXHIBIT

                                    ''C''
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              CITY OF PALESTINH, TEXAS,
                               Plaim((f,

              vs.                                                                               ANDERSON COUNTY, TEXAS

              JERRY LAZA,
                                                       DeJendanr.                                  3.J9th JUDICIAL DISTRICT

                                       DISCOVERY CONTROL PLAN AND SCHEDULING ORDER

                      It is ORDERED that discovery in this case will be cumluctcd according to this discovery-
              control pla11 nnd that the pa1ties will meet and adhere to the following deadlines:

              I.           This case will be l'eady and is set for jlll'y trial on June 5, 2017 at 9:00 a.m. (the "Trial
                           Setting''), The reset of the Trial St:Hing will reset the remaining dates established in this
                           Order or establiohcd by lhc T t:xas Rules or· Civil Prm:..:dure unless otherwist: provided by
                           order. Except by agreement of the purty, leave or court, or where expressly atnhorizcd by
                           the Texas Rules of Civil Procedure. no pnrty may obtnin discovery of information su~jcct
                           to disclosure under Rule 194 by any other form of discovery.

              2.           Pretrial matters will be complete by the following dates:

              May 5. 2017                              Dwnand for jury trial, if any.   mu!il   be llbl.

              May !0. 2017                             Amended pleadings asserting new claims or defenses.

              Deadline passed                          Party seeking aflirmativc relief to de~ignate experts and provide reports.

              May 10,2017                              Pany opposing affirmative relief to designate expert provide reports.

              May 19,2017                              Fnct discovery closes. (Provided, however, that any additional discovery
                                                       propounded on or before Jvlay R. 2017 shalf be responded 10 hy May 22,
                                                       2017.)

              May 17.2017                              Designation of rebuttal experts and provide         report~.

              May 24,2017                              Expert discovery closes.

              May 30,2017                              Other amended pleadings.

                          The porlies may by wrillen agreement alicr these deadlines. Amended pleadings
                          responsiwlo timely likd pleadings under this schedule may be filed afle1• the! deadline for
                          amended pleadings if filed wilhin lwo w~:cks afkr the pleading to which they respond.



              DISCOV!W.Y CONTROL Pt..,AN ANO SCHEDliLI!\G OIWEH -I':• g.~ I
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            3.       Any objection or motion to exclude or limit t:xpert testimony due to qualification of the
                     expert or reliability of the opinion~ must he filed no l<tler than May 25, 20 l 7, or such
                     objection is waived. Any motion to C(\mpel responses to discovery (other than relating to
                     tactual matters arising after the end of fact discovery) must be filed no later than 7 days
                     after the close of fact discovery or such complaint is waived, except tor the sanction of
                     exclusion under Rule 193.6.

            4.       Each side may have 50 hours of depositions. and each party may have 25 interrogCI\ories,
                     subject to the conditions of Rule 190.3(b)(2) and (3).

            5.       The partie,~ have completed mediation.

            6.       By June 1, 2017, !he parlies shall exchange designations of deposition testimony to be
                     offered in direct examination and a list of exhibits, including any demonstrative aids and
                     affidavits, and shall exchange copies or any exhibits not previously produced in
                     discovery. Hxcept for records to be offered by W<iY of business record affidavils, each
                     exhibit must be identified separately and nm by category or group designation. By June 5,
                     2017, at 9:00a.m., the parties shall submit in writing their oq,jections to the opposing
                     party's proposed exhibits.

            7.       A bearing on expert obje~ will be heard at I 0:00a.m. on June 2, 2~17.

                     SOORDEREDthis         0~fMay,2017.                 •                .      ·




                                                               ~~==~--------
                                                               District Judge Prestding



                                                                 lsi James S. Mosser
                                                               James C. Mosser,
            Attomey for Plaintiff                              A Horney for Defendant
            City of Palestine, Texas                           .krry La:.-.a




            DISCOVERY CONTROL PLAN AND SCHEDULING (~RDER                       l':tgc2
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                            EXHIBIT

                                   ''D''
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      Will Brule, Council District #1                                           Mike Alexander, Interim City Manager
      Mitchell Jordan, Council District #2                                             Teresa Herrera, City Secretary
      Vickey L. Chivers, Council District #3                                          Ronald D. Stutes, City Attorney
      Joseph Thompson, Council District #4
      Doug Smith, Council District #5
      Steve Presley, Council District #6
                                                  Bob Herrington, Mayor

                                                  NOTICE OF MEETING
                                                 CITY COUNCIL AGENDA
                                             Monday, June 27,2016
                                Work Session@ 4:30p.m., City Hall Conference Room
                                Regular Meeting@ 5:30p.m., City Council Chambers
                                               504 N. Queen Street
                                                Palestine, Texas

      The City Council may meet in Closed Session regarding any item on this agenda if necessary, as
      permitted by Subchapter D of Chapter 551 of the Texas Government Code.

      WORK SESSION
              1) Discuss a resolution to accept a Homeland Security Grant in the amount of $12,000 for upgrade
                 communications packages for police vehicles.
              2) Discuss the proposed Purchasing Policy.
              3) Discuss a budget amendment for Phase I of the KSA proposal for Historic Downtown Assessment
                 Study.
              4) Discuss wireless options for City employees.
              5) Discuss ways to improve Council decisions by better planning.
              6) Update on the acquisition of property in Anderson County by the U.S. Fish & Wildlife Service, the
                 effect of the acquisition on the ability of the City of Palestine to fully utilize the easement it owns
                 across that land for the transport of raw water from the Neches River to the City's water
                 treatment plant, and the various strategies to preserve the City's property rights.

      REGULAR MEETING
      A.    CALL TO ORDER

       B.      INVOCATION AND PLEDGE OF ALLEGIANCE
               Invocation followed by Pledge of Allegiance

       C.      PROPOSED CHANGES OF AGENDA ITEMS

       D.      PUBLIC COMMENTS. PUBLIC RECOGNITION. AND ANNOUNCEMENTS
               1) Recognition of new Fire Fighters Joshua Mims and Johnathan Phillips.

       E.      CONFLICT OF INTEREST DISCLOSURES

       F.      MAYOR'S REPORT

       G.      ITEMS FROM COUNCIL
               1) Recognition by Council.
               2) Update on Attendance, Upcoming Activities, and Future Development at the Texas State Railroad
               3) Update on Community Events

       H.      CITY MANAGER'S REPORT
               1) City Attorney Fees
               2) Update on the April 30th Flooding
               3) Departmental Report
                  a) Fire
                  b) Police CID
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                   c) Customer Service
                   d) Library
                   e) Municipal Court
                   0 Civic Center
                   g) Parks & Recreation
                   h) Facility Maintenance & Retail Fund

       I.      REGULAR AGENDA
               1) Consider a Resolution to accept a Homeland Security Grant in the amount of $12,000 to upgrade
                  communications packages for police vehicles.
               2) Consider an Ordinance for a Budget Amendment for Fiscal Year 2015-2016 in the amount of
                  $12,000 for PEDC.
               3) Consider authorizing the City Manager to negotiate a contract with Sam Silverstein to develop
                  and provide a plan of Non-negotiable Core Values.
               4) Consider approval of the Purchasing Policy.
               5) Consider approval of the proposed wireless plan.
               6) Consider authorizing the Finance Department to advertise for engineering consultation services
                  to define specifications for a fixed base water metering system.
               7) Update on Municipal Prosecutor Services.

       J.      CLOSED SESSION
               Council will go into Closed Session pursuant to Section 551.087 to deliberate economic development
               negotiations and 551.071 to consult with city attorney; pending or contemplated litigation:
               1) Discuss Project Nation Star.
               2) Discuss pending litigation (City of Palestine v. jerry Laza, Cause No. DCCV16-356-349, 349th
                   District Court, Anderson County) and possible settlement offers regarding owner Jerry Laza and
                   property located 1019 W Oak and 1101 W Oak.

       K.      RECONVENE IN REGULAR SESSION
               1) Take any action necessary regarding Project Nation Star.
               2) Take any action necessary regarding pending litigation (City of Palestine v. jerry Laza, Cause No.
                  DCCV16-356-349, 349th District Court, Anderson County) and possible settlement offers
                  regarding owner JerryLazaand property located 1019 W Oak and 1101 W Oak.

       L.      ADJOURN

       CERTIFICATION

       I, the undersigned authority, do hereby certify that this Notice of Meeting was posted on the outdoor bulletin
       board at the main entrance to City Hall, 504 N. Queen Street, Palestine, Te , on the fo wing date a time:

       Frida   nne 24 2016      aJ.::. 9.: 36       1'\\.                                                         -

                                                                          Ami Ashworth, Deputy City Secretary

       In compliance with the Americans with Disabilities Act, the City of Palestine will provide for
       reasonable accommodations for persons attending City Council meetings. Requests for
       accommodations or interpretive services must be made 48 hours prior to the meetings. Please contact
       the City Secretary's office for further information at 903-731-8414.
Case 6:17-cv-00533-JDK-JDL Document 1-3 Filed 09/18/17 Page 43 of 59 PageID #: 76




         Will Brule, Counc11 District #1                                                 Mike Alexander, Interim City Manager
         Mitchell jordan, Council District #2                  •THtCITYOf.      E·              Teresa Herrera, City Secretary
         Vickey L. Chivers, Council District #3
         joseph Thompson, Coundl District #4
                                                       P~LESTIN                                Ronald D. Stutes, City Attorney

         Doug Smith, Council District #5                       ~
         Steve Presley, Council District #6
                                                        Bob Herrington, Mayor

                                                    NOTICE OF MEETING
                                                   CITY COUNCIL AGENDA
                                                   Monday, July 11, 2016
                                     Work Session @ 4:00p.m., City Hall Conference Room
                                     Regular Meeting @ 5:30p.m., City Council Chambers
                                                     504 N. Queen Street
                                                      Palestine, Texas

        The City Council may meet in Closed Session regarding any item on this agenda if necessary, as permitted by
        Subchapter D of Chapter 551 of the Texas Government Code.

        WORK SESSION
                 1)   Discuss ways to improve Council decisions by better planning.- Councilmember Will Brule
                 2)   Discuss the proposed purchasing policy.- Finance Dkector Steve Groom
                 3)   Aftermath of the April 30, 2016 flooding.- EM Coordinator Scott Parkhurst
                 4)   Discuss proposed amendments to Chapter 40 Development, Article XL Off-Street Parking, Driveways, and
                      Storage Yard Standards.- Development Services Director Jeffrey Lyons
                 5)   Discuss the RFP·1605 selection and interview process City of Palestine Audit Services. - Finance Director
                      Steve Groom
                 6)   Discuss the RFP and selection process for city prosecutor.- Finance Director Steve Groom
                 7)   Discuss Rail Road Quite Zone.- Public Works Director Tim Perry


        REGULAR MEETING
        A.    CALL TO ORDER

        B.       INVOCATION AND PLEDGE OF ALLEGIANCE
                 Invocation followed by Pledge of Allegiance

        C.       PROPOSED CHANGES OF AGENDA ITEMS


        D.       PUBLIC COMMENTS, PUBLIC RECOGNITION, AND ANNOUNCEMENTS
                 1)   Recognition of new Fire Fighter jerry Weems.
                 2)   Recognition of Fire Fighters that attended Swift Water Training.
                 3)   Recognition of Ami Ashworth for Water Quality Report

        E.       CONFLICT OF INTEREST DISCLOSURES

        F.       PUBLIC HEARINGS
                 1)   Public hearing for a zoning change request from R-2, Single Family Detached, Medium Density District to C-
                      2, Local Retail Commercial located at 321 W. Palestine Avenue being Lot 4, Block 33 of the Green's North
                      Hills Addition and generally located approximately 70-feet north of the intersections ofW. Palestine Avenue
                      and Tennessee Avenue on the east side of Tennessee Avenue.

        G.       MAYOR'S REPORT

        H.       ITEMS FROM COUNCIL
                 1)   Recognition by Council.
                 Z)   Update on Attendance, Upcoming Activities, and Future Development at the Texas State Railroad
                 3)   Update on Community Events
Case 6:17-cv-00533-JDK-JDL Document 1-3 Filed 09/18/17 Page 44 of 59 PageID #: 77




        I.       CITY MANAGER'S REPORT
                 1) Departmental Report
                     a) Public Works- Tim Perry
                     b) Utilities- Tim Perry
                     c) Development Services- jeffrey Lyons
                     d) Communications Web Report- Nate Smith

        J.       OPENBIDS
                 1) Open bids for the Fort Street Block Grant TxCDBG Project No. 7215360, Water Sewer, and Street
                    Improvements.

        K.       REGULARAGENDA
                 1) Consider approval of the purchasing policy.- Finance Director Steve Groom
                 2) Consider an ordinance granting a zoning change from R-2, Single Family Detached, Medium Density District
                    to C-2, Local Retail Commercial located at 321 W. Palestine Avenue being Lot 4, Block 33 of the Green's North
                    Hills Addition and generally located approximately 70-feet north of the intersections ofW. Palestine Avenue
                    and Tennessee Avenue on the eastside of Tennessee Avenue.- Development Services Director jeffrey Lyons
                 3) Consider an ordinance repealing Article XL Off-Street Parking, Driveway, and Storage Yard Standards of
                    Chapter 40, Development, of the Palestine Code of Ordinances, and adopting a new Article XI.- Development
                    Services Director Jeffrey Lyons
                 4) Consider the RFP-1605 selection and interview process City of Palestine Audit Services- Finance Director
                    Steve Groom
                 5) Consider the RFP and interview process for city prosecutor.· Finance Director Steve Groom
        L.       CLOSED SESSION
                 Council will go into Closed Session pursuant to Section 551.087 to deliberate regarding economic development
                 negotiations, Section 5 51.07 4 regarding personnel matters, Section 551.072 regarding deliberation regarding real
                 property (the purchase, exchange, lease or value of real property), and Section 551.071 to consult with city
                 attorney.
                 1) Discuss Project Nation Star.
                 Z) Discuss the appointment, employment, evaluation, reassignment, duties, discipline, or dismissal of city
                      employees.
                 3) Discuss the purchase, exchange, lease or value of Real Estate.
                 4) Discuss litigation (City of Palestine v. jerry Laza, Cause No. DCCV16-356-349, 349th District Court, Anderson
                      County) and possible settlement offers regarding owner Jerry Laza and property located 1019 W Oak and
                      1101 WOak

        M.       RECONVENE IN REGULAR SESSION
                     1) Take any actions regarding project Nation Star.
                    2) Take any actions regarding appointment, employment, evaluation, reassignment, duties, discipline, or
                        dismissal of city employees.
                    3) Take any actions on the purchase, exchange, lease or value of Real Estate.

        N.       ADJOURN


        CERTIFICATION

        I, the undersigned authority, do hereby certifY that this Notice of Meeting was post on the ou
        main entrance to City Hall, 504 N. Queen Street, Palestine, Texas, on the following at and time

        Frida                                      m
                                                                                   Ami Ashworth, Deputy City Secretary

        In compliance with the Americans with Disabilities Act, the City of Palestine will provide for reasonable accommodations for
        persons attending City Council meetings. Requests for accommodations or interpretive services must be made 48 hours prior to
        the meetings. Please contactthe City Secretary's office for further information at 903·731-8414.
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      Will Brule, Council District #1                                     Mike Alexander, Interim City Manager
      Mitchell Jordan, Council District #2                                       Teresa Herrera, City Secretary
      Vickey L. Chivers, Council District #3                                    Ronald D. Stutes, City Attorney
      Ioseph Thompson, Council District #4
      Doug Smith, Council District #5
      Steve Presley, Council District #6
                                                 Bob Herrington, Mayor

                                              NOTICE OF MEETING
                                             CITY COUNCIL AGENDA
                                           Monday, November 14, 2016
                                Work Session@ 4:30p.m., City Hall Conference Room
                                Regular Meeting@ 5:30p.m., City Council Chambers
                                              504 N. Queen Street
                                                Palestine, Texas

      The City Council may meet in Closed Session regarding any item on this agenda if necessary, as
      permitted by Subchapter D of Chapter 551 of the Texas Government Code.

      WORK SESSION
            1) Discuss Progressive Waste services. Interim City Manager Mike Alexander
            2) Discuss ordinance creating the Zoning Ordinance Rewrite Committee. City Attorney Ron Stutes
            3) Discuss Hotel Occupancy Tax Funding Application to grant $5,000 to the ICEE Success
               Foundation for the Curious Museum. Marketing Manager Mary Raum

      REGULAR MEETING
      A.    CALL TO ORDER

      B.      INVOCATION AND PLEDGE OF ALLEGIANCE
              Invocation followed by Pledge of Allegiance.

      C.      PROPOSED CHANGES OF AGENDA ITEMS

      D.      PUBLIC COMMENTS. PUBLIC RECOGNITION. AND ANNOUNCEMENTS

      E.      CONFLICT OF INTEREST DISCLOSURES

      F.      MAYOR'S REPORT

      G.      ITEMS FROM COUNCIL
              1) Recognition by CounciL
              2) Update on Attendance, Upcoming Activities, and Future Development at the Texas State Railroad.
              3) Update on Community Events.

      H.      CITY MANAGER'S REPORT
              1) Update regarding the Mall pad sites. John P. Christon
              2) Departmental Report
                 a) Development Services
                 b) Facility Maintenance
                 c) Public Works
                 d) Library
                 e) Web Metrics
                 f) Police-Patrol Stats
                 g) Police-Support Services

      I.      CONSENT AGENDA
              The Consent Items shall be considered for action as a whole, unless one or more Coundlmembers
              objects. Approval of the consent agenda authorized the City Manager to implement each item in
              accordance with staff recommendations.
              1} Consider awarding Bid: B2016-PW-01 Water and Wastewater Chemical Bids to Cabot Norit
                  America's Inc. Deputy Public Works Director Felipe Garcia
Case 6:17-cv-00533-JDK-JDL Document 1-3 Filed 09/18/17 Page 46 of 59 PageID #: 79




              2) Consider approval of invoices over $25,000 to TML Intergovernmental Risk Pool, Progressive
                 Waste, Health First TPA, and TCEQ. Finance Director Steve Groom
              3) Consider approval of an Ordinance to pem1it the operation of golf cart on public streets. City
                 Secretary Teresa Herrera

      J.      REGULAR AGENDA
              1) Consider approval of expenditure for Case DV26 Ddl Drum Roller from ASCO Equipment. Deputy
                 Public Works Director Rob Thames
              2) Consider approval of Hotel Occupancy Tax Funding Application to grant $5,000 to the ICEE
                 Success Foundation for the Curious Museum. Marketing Manager Mary Raum
              3) Consider setting City Council dates for the remainder of the year. City Secretary Teresa Herrera
              4) Consider approval of an ordinance creating the Zoning Ordinance Rewrite Committee. City
                 Attorney Ron Stutes

      K.      CLOSED SESSION
              Council will go into Closed Session pursuant to Section 551.071 to consult with city attorney; pending
              or contemplated litigation and Section 551.074 regarding personnel matters:
              1) Discuss pending litigation (City of Palestine v. jerry Laza, Cause No. DCCV16-356-349, 349'11
                  District Court, Anderson County} and possible settlement offers regarding owner Jerry Laza and
                  property located at 1019 W. Oak and 1101 W. Oak;
              2) Discuss the appointment, employment, evaluation, reassignment, duties, discipline, or dismissal
                  of Fire Department employees;
              3) Discuss the appointment, employment, evaluation, reassignment, duties, discipline, or dismissal
                  of the Police Chief/Interim City Manager Mike Alexander; and
              4) Discuss the appointment, employment, evaluation, reassignment, duties, discipline, or dismissal
                  of the City Manager; specifically, employment contract with Kevin Coleman to be City Manager.

      L.      RECONVENE IN REGULAR SESSION
              1) Take any action regarding pending litigation (City of Palestine v. jerry ~aza, Cause No. DCCV16-
                 356-349, 349th District Court, Anderson County] and possible settlement offers regarding owner
                 jerry Laza and property located at 1019 W. Oak and 1101 W. Oak;
              2) Take any action regarding the appointment, employment, evaluation, reassignment, duties,
                 discipline, or dismissal of Fire Department employees;
              3) Take any action necessary regarding the appointment, employment, evaluation, reassignment,
                 duties, discipline, or dismissal of the Police Chief/Interim City Manager Mike Alexander; and
              4) Take any action necessary regarding the appointment, employment, evaluation, reassignment,
                 duties, discipline, or dismissal of the City Manager; specifically, employment contract with Kevin
                 Coleman to be City Manager.

      M.      ADJOURN

      CERTIFICATION

      I, the undersigned authority, do hereby certify that this Notice of Meeting was posted on the outdoor bulletin
      board at the main entrance to CityHall, ~04 N~ Que~n Street, Palestine,-~ex'a~5~ t~:r,u~~~g ~ate and time:
      Frida November 11 2016          d       t. u~J   ' }            . ~- ~ JU           jlt'r Ice·· [A
                                                                                  Teresa Herrera, City Secretary

      In compliance with the Americans with Disabilities Act, the City of· Palestine will provide for
      reasonable accommodations for persons attending City Council meetings. Requests for
      accommodations or interpretive services must be made 48 hours prior to the meetings. Please contact
      the City Secretary's office for further information at 903·731-8414.
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      Will Brule, Council District# 1                                       Mike Alexander, Interim City Manager
      Mitchell Jordan, Council District #2                                         Teresa Herrera, City Secretary
      Vic key L. Chivers, Council District #3                                     Ronald D. Stutes, City Attorney
      Joseph Thompson, Council District #4
      Doug Smith, Council Disttict #5
      Steve Presley, Council District #6
                                                 Bob Herrington, Mayor

                                               NOTICE OF MEETING
                                              CITY COUNCIL AGENDA
                                            Monday, November 28, 2016
                                 Work Session@ 4:30p.m., City Hall Conference Room
                                 Regular Meeting@ 5:30p.m., City Council Chambers
                                                504 N. Queen Street
                                                 Palestine, Texas

      The City Council may meet in Closed Session regarding any item on this agenda if necessary, as
      permitted by Subchapter D of Chapter 551 of the Texas Government Code.

      WORK SESSION
            1] Discuss discontinuing the use of Fluorosilicic Acid to the drinking water. Deputy Public Works
               Director Felipe Garda
            2] Discuss fonnal disannexation petition for the properties on Highway 19 South, annexed in 2007.
               City Secretary Teresa Herrera
            3) Discuss status and time extension to allow mall pad sites developer to complete due diligence.
               City Attorney Ron Stutes
            4) Update regarding Zoning Ordinance Steering Committee. Development Director Jeffrey Lyons

      REGULAR MEETING
      A.    CALL TO ORDER

      B.      INVOCATION AND PLEDGE OF ALLEGIANCE
              Invocation followed by Pledge of Allegiance

      C.      PROPOSED CHANGES OF AGENDA ITEMS

      D.      PUBLIC COMMENTS. PUBLIC RECOGNITION, AND ANNOUNCEMENTS

      E.      CONFLICT OF INTEREST DISCLOSURES

      F.      PUBLIC HEARINGS
              1) Public Hearing regarding amendments to Appendix A, Zoning, Section 4.6 Zoning Use Graphs and
                 Section 3.2, General Definitions to define breweries and distilleries and determine appropriate
                 zoning districts where distilleries are allowed to operate. Development Services Director jeffrey
                 Lyons

      G.      MAYOR'S REPORT

      H.      ITEMS FROM COUNCIL
              1) Recognition by Council.
              2) Update on Attendance, Upcoming Activities, and Future Development at the Texas State Railroad.
              3) Update on Community Events.

      I.      CITY MANAGER'S REPORT
              1) City Attorney Fees
              2) Departmental Report
                 aJ Utilities
                 b) CID Statistics
                 c) Finance (Municipal Court, Check Register, Water Billing Summary, & Monthly Financial
                      Summary)
Case 6:17-cv-00533-JDK-JDL Document 1-3 Filed 09/18/17 Page 48 of 59 PageID #: 81




      J.      BOARD APPOINTMENTS
              1) Consider board reappointments of julie Abston to Place 5 and Linda Williams to Place 6 to
                 Historic Landmarks Commission with term to expire on September 30,2018.
              2) Consider board appointment of MJ Dyer to Place 5 to Tourism Advisory Board with term to
                 expire on September 30, 2018.

      K.      CONSENT AGENDA
              The Consent Items shall be considered for action as a whole, unless one or more Councilmembers
              objects. Approval of the consent agenda authorized the City Manager to implement each item in
              accordance with staff recommendations.
              1) Consider approval of minutes of the Work Session and Regular Meeting of September 26, 2016.

      L.      REGULAR AGENDA
              1) Consider discontinuing the use of Fluorosilicic Acid to the drinking water. Deputy Public Works
                 Director Felipe Garcia
              2) Consider formal disannexation petition for the properties on Highway 19 South, annexed in
                 2007. City Secretary Teresa Herrera
              3) Consider time extension to allow mall pad sites developer to complete due diligence. City
                 Attorney Ron Stutes
              4) Consider an ordinance amending Appendix A, Zoning, Section 4.6 Zoning Use Graphs and Section
                 3.2, General Definitions to define breweries and distilleries and determine appropriate zoning
                 districts where distilleries are allowed to operate. Development Services Director jeffrey Lyons

      M.      CLOSED SESSION
              Council will go into Closed Session pursuant to Section 551.074 regarding personnel matters and
              Section 551.071 to consult with city attorney; pending or contemplated litigation:
              1) Discuss the appointment, employment, evaluation, reassignment, duties, discipline, or dismissal
                  of the City Manager; specifically, employment contract with City Manager Mike Alexander.
              2) Discuss Employee and Organizational Development Process including appointment,
                  employment, evaluation, reassignment, duties, discipline, or dismissal ofthe city employees.
              3) Discuss pending litigation (City of Palestine v. jerry Laza, Cause No. DCCV16-356-349, 349th
                  District Court, Anderson County}.

      N.      RECONVENE IN REGULAR SESSION
              1) Take any action necessary regarding appointment, employment, evaluation, reassignment,
                 duties, discipline, or dismissal of the City Manager; specifically, employment contract with City
                 Manager Mike Alexander.
              2) Take any action necessary regarding Employee and Organizational Development Process
                 including appointment, employment, evaluation, reassignment, duties, discipline, or dismissal of
                 the city employees.
              3) Take any action necessaJy regarding pending litigation (City of Palestine v. jeny Laza, Cause No.
                 DCCV16-356-349, 349'h District Court, Anderson County).

      0.      ADJOURN

      CERTIFICATION

      [,the undersigned authority, do hereby certify that this Notice of Meeting was posted on the outdoor bulletin
      board at the main entrance to City Hall, 504 N. Queen Street, Palestine, Texas, on the foll wing date and time:
                                     ~   t                                 .c...   ""·-··-..--~----·-

      Frida   November25 2016        l1


      In compliance with the Americans with Disabilities Act, the City of Palestine will provide for
      reasonable accommodations for persons attending City Council meetings. Requests for
      accommodations or interpretive services must be made 48 hours prior to the meetings. Please contact
      the City Secretary's office for further information at 903-731-8414.
Case 6:17-cv-00533-JDK-JDL Document 1-3 Filed 09/18/17 Page 49 of 59 PageID #: 82




      Will Brule, Council District #1                                              Mike Alexander, City Manager
      Mitchell Jordan, Council District #2                                         Teresa Hen·cra, City Secretary
      Vic key L. Chivers, Council District #3                                     Ronald D. Stutes, City Attorney
      joseph Thompson, Council District #4
      Doug Smith, Council District #5
      Steve Presley, Council District #6
                                                 Bob Herrington, Mayor

                                                 NOTICE OF MEETING
                                                CITY COUNCIL AGENDA
                                             Monday, March 13, 2017
                                 Work Session@ 5:00p.m., City Hall Conference Room
                                 Regular Meeting@ 5:30p.m., City Council Chambers
                                                504 N. Queen Street
                                                 Palestine, Texas

      The City Council may meet in Closed Session regarding any item on this agenda if necessary, as
      permitted by Subchapter D of Chapter 551 of the Texas Government Code.

      WORK SESSION
              1) Discuss revised cost of a second signal and cross arm at Magnolia and Spring Street Railroad
                 crossing in the amount of $39,635.50. Public Works Director Tim Perry
              2) Discuss proposed dates for Town Hall meetings for Special Election on Sales Tax. Asst. City
                 Manager Michael Homes

      REGULAR MEETING
      A.    CALL TO ORDER

      B.      INVOCATION AND PLEDGE OF ALLEGIANCE
              Invocation followed by Pledge of Allegiance.

      C.      PROPOSED CHANGES OF AGENDA ITEMS

      D.      PUBLIC COMMENTS. PUBLIC RECOGNITION. AND ANNOUNCEMENTS
              1)   Recognition Police Officer John Dougherty for his promotion to Corporal. Interim Police Chief
                   John Herod
              2)   National Women's Month Proclamation.

      E.      CONFLICT OF INTEREST DISCLOSURES

      F.      MAYOR'S REPORT

      G.      ITEMS FROM COUNCIL
              1) Recognition by Council.
              2) Update on Attendance, Upcoming Activities, and Future Development at the Texas State Railroad.
              3) Update on Community Events.

      H.      CITY MANAGER'S REPORT
              1) Departmental Report
                 a) Police CID
                 b) Web
                 c) Development Services
                 d) Libra1y
                 e) Finance Sales Tax Remittance Update
                 f) Fire

      I.      CONSENT AGENDA
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             The Consent Items shall be considered for action as a whole, unless one or more Councilmembers
             objects. Approval of the consent agenda authorized the City Manager to implement each item in
             accordance with staff recommendations.
             1) Consider approval of minutes of the Work Session and Regular Meeting of December 12, 2017.
             2) Consider a Resolution appointing Election Workers for the May 6, 2017, City Officer Election.
             3) Consider approval of Invoices over $25,000. Finance Director Steve Groom

      J.     REGULAR AGENDA
             1) Consider expenditure in the amount of $63,077 to purchase one ton pick-up truck and one half-
                ton pick-up truck from All Star Ford. Public Works Director Tim Perry

      K.     CLOSED SESSION
             Council will go into Closed Session pursuant to Section 551.072 regarding deliberation regarding real
             property (the purchase, exchange, lease or value of real property), and Section 551.071 to consult
             with city attorney.
             1) Update on pending litigation (City of Palestine v. jeny Lasa, Cause No. DCCV16·359-349, 349'h
                 District Court, Anderson County).
             2) Update on Mall Pad Sites and other negotiations.

      L.     RECONVENE IN REGULAR SESSION

      M.     ADJOURN

      CERTIFICATION




                                                                                Teresa Herrera, City Secretary

      In compliance with the Americans with Disabilities Act, the City of Palestine will provide for
      reasonable accommodations for persons attending City Council meetings. Requests for
      accommodations or interpretive services must be made 4-8 hours prior to the meetings. Please contact
      the City Secretary's office for further information at 903-731-84-14-.
Case 6:17-cv-00533-JDK-JDL Document 1-3 Filed 09/18/17 Page 51 of 59 PageID #: 84



       Will Brule, Council District #1                                              Mike Alexander, City Manager
       Mitchell Jordan, Council District #2                                     Michael Hornes, Asst. City Manager
       Vic key L. Chivers, Council District #3                                      Teresa Herrera, City Secretary
       Joe Baxter, Council District #4                                             Ronald D. Stutes, City Attorney
       Doug Smith, Council District #5
       Ann Connor, Council District #6
                                                    Steve Presley, Mayor

                                                  NOTICE OF MEETING
                                                 CITY COUNCIL AGENDA
                                                Monday, June 12,2017
                                   Work Session@ 4:30p.m., City Hall Conference Room
                                   Regular Meeting@ 5:30p.m., City Council Chambers
                                                  504 N. Queen Street
                                                   Palestine, Texas

       The City Council may meet in Closed Session regarding any item on this agenda if necessary, as
       permitted by Subchapter D of Chapter 551 of the Texas Government Code.

       WORK SESSION
               1)   Public Works & Utilities 101. Public Works Director Tim Perry

       REGULAR MEETING
       A.    CALL TO ORDER

       B.      INVOCATION AND PLEDGE OF ALLEGIANCE
                Invocation followed by Pledge of Allegiance

       C.      PROPOSED CHANGES OF AGENDA ITEMS

       D.       PUBLIC COMMENTS. PUBLIC RECOGNITION, AND ANNOUNCEMENTS
                1) Certificates of Appreciation for assisting in cleanup of Lower Lake to Johnny Daniels, Zachary
                   Holloway, Alex Vasquez, Steven Salas Jr., Salvador Rios, jimmy Essary, John Boy, james Gray,
                   Steven Salas, Daniel Garcia, Jarrod Fletcher, Raymond Martin, and joel Deleon. Community
                   Services Deputy Director Ricky Dorsey
                2) Recognition of Firefighters Derek Hunt, Geary Johnson, JP Manley, and Tim Ingram. Fire Chief
                   Shannon Davis

       E.      CONFLICT OF INTEREST DISCLOSURES

       F.       PUBLIC HEARINGS
               1) Public Hearing regarding a specific use permit to allow 16 multi-family living units at 1319
                  Moody Street being Lot 2, Block 1 of the Farris Addition, zoned C-4, Highway Commercial and
                  generally located approximately 160-feet on the inside of N. Loop 256 on the north side of
                  Moody Street Development Services Director Jeffrey Lyons
               2) Public Hearing regarding amendment to Appendix A, Zoning, Section 3.3, Section 4.6 and Section
                  15 by adding a definition, providing special provisions and designating zoning districts for
                  indoor gun ranges. Development Services Director Jeffrey Lyons

       G.       MAYOR'S REPORT

       H.      ITEMS FROM COUNCIL
               1)   Recognition by Council
               2)   Update on Community Events

       I.       CITY MANAGER'S REPORT
               1) Palestine Mall- Pad Sites
               2) Departmental Report
Case 6:17-cv-00533-JDK-JDL Document 1-3 Filed 09/18/17 Page 52 of 59 PageID #: 85




                a) Sales Tax Update
                b) Development Services
                c) Web
                d) Public Works
                e) Library
                f) Community Services
                g) Police ClD
                h) Police Support

      J.    BOARD APPOINTMENTS
            1) Consider board of appointments of Ann Connor to Place 1, Phil Jenkins to Place 2, and Larry
               Weber to Place 3 with term to expire September 30, 2017; and Andrew Gregory to Place 4 and
               Brenda Walker to Place 5 with term to expire September 30, 2018 to Real Estate Committee.
            2) Consider appointment of Chris Gouras to vacant Place 7 with term to expire September 30, 2018
               to Histmic Landmark Commission.

      K.    CONSENT AGENDA
            The Consent Items shall be considered for action as a whole, unless one or more Councilmembers
            objects. Approval of the consent agenda authorized the City Manager to implement each item in
            accordance with staff recommendations.
            1) Consider approval of minutes of the Work Session and Regular Meeting of Aplil 10, 2017.
            2) Consider approval of minutes of the Work Session and Regular Meeting of April 24,2017.
            3) Consider approval of minutes of the Work Session and Regular Meeting of May 8, 2017.
            4) Consider approval of minutes of the Special Meeting of May 10, 2017.
            5) Consider approval of invoices over $25,000. Finance Director Steve Groom
            6) Consider approval of modified Steven Bennett Swimming Pool Schedule for 2017. Community
                Services Director Patsy Smith
            7) Consider an ordinance vacating and abandoning all right, title and interest to the City of Palestine
                in a 20-foot wide sanitary sewer easement located on Lot 1 of the Cartmell Addition to the City of
                Palestine recorded in Volume 998, Page 179 of the Deed Records of Anderson County, Texas.
                Development Services Director jeffrey Lyons
            8} Consider expenditure in the amount of $33,648 to purchase 25' Magna Rotor from Lakeside
                Equipment Corporation. Public Works Deputy Director Felipe Garcia

      L.    REGULAR AGENDA
            1) Consider approval of Phase ll of the Downtown Assessment Study. Asst. PEDC Director Greg
               Laudadio
            2) Consider a specific use permit to allow 16 multi-family living units at 1319 Moody Street being
               Lot 2, Block 1 of the Farris Addition, zoned C-4, Highway Commercial and generally located
               approximately 160-feet on the inside of N. Loop 256 on the north side of Moody Street.
               Development Services Director Jeffrey Lyons
            3) Consider an ordinance amending Appendix A, Zoning, Section 3.3, Section 4.6 and Section 15 by
               adding a definition, providing special provisions and designating zoning districts for indoor gun
               ranges. Development Services Director jeffrey Lyons
            4) First reading of a Resolution regarding Palestine Economic Development Corporation and City of
               Palestine notice of intention to grant $25,000 to Texas State Railroad Authority, $11,500 to
               Palestine YMCA, $9,500 to Palestine Tomorrow, and $4,000 to Palestine Youth Athletic
               Association. PEDC A sst Director Greg Laudadio
            5) Consider a resolution for TxDOT Off System Bridge Replacement of Saltworks Road. Public
               Works Director Tim Perry
            6) Consider an Ordinance approving an amendment to Chapter 34, Cemeteries, Section 34-9,
               entitled "Enclosures, Ornaments Prohibited," to limit the size of flags that are placed on cemetery
               plots in Palestine's cemeteries. City Secretary Teresa Herrera
            7) Discuss Council's top ten goals and wishes for next year. Mayor Steve Presley
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      M.      CLOSED SESSION
              Council will go into Closed Session pursuant to Section 551.071 to consult with city attorney; pending
              or contemplated litigation.
              1) Update on litigation (City of Palestine v. jeny Laza, Cause No. DCCV16-359-349, 349th District
                  Court, Anderson County).

      N.      RECONVENE IN REGULAR SESSION

      0.      ADfOURN

      CERTIFICATION

      I, the undersigned authority, do hereby certify that this Notice of Meeting was posted on the outdoor bulletin
      board at the main entrance to City Hall, 504 N. Queen Street, Palestin~on the following date and time:

      Fddoy,lnn• 09,   201~ oJ ::,: 'LO f·"''                          ~/,)11._ ~ vuq
                                                                                  Teresa Herrera, City Secretary

      In compliance with the Americans with Disabilities Act, the City of Palestine will provide for
      reasonable accommodations for persons attending City Council meetings. Requests for
      accommodations or interpretive services must be made 48 hours prior to the meetings. Please contact
      the City Secretary's office for further information at 903-731-8414.                                ·
Case 6:17-cv-00533-JDK-JDL Document 1-3 Filed 09/18/17 Page 54 of 59 PageID #: 87



      Will Bmle, Council District #1                                               Mike Alexander, City Manager
      Mitchell jordan, Council District #2                                     Michael Hornes, Asst. City Manager
      Vic key L Chivers, Council District #3                                       Teresa Herrera, City Secretary
      Joe Baxter, Council District #4                                             Ronald D. Stutes, City Attorney
      Doug Smith, Council District #5
      Ann Connor, Council District #6
                                                  Steve Presley, Mayor

                                                NOTICE OF MEETING
                                               CITY COUNCIL AGENDA
                                                Monday, July 10, 2017
                                  Regular Meeting@ 5:30 p.m., City Council Chambers
                                                 504 N. Queen Street
                                                  Palestine, Texas

      The City Council may meet in Closed Session regarding any item on this agenda if necessary, as
      permitted by Subchapter D of Chapter 551 of the Texas Government Code.

      REGULAR MEETING
      A.    CALL TO ORDER

      B.      INVOCATION AND PLEDGE OF ALLEGIANCE
              Invocation followed by Pledge of Allegiance

      C.      PROPOSED CHANGES OF AGENDA ITEMS

      D.      PUBLIC COMMENTS. PUBLIC RECOGNITION. AND ANNOUNCEMENTS

      E.      CONFLICT OF INTEREST DISCLOSURES

      F.      PUBLIC HEARINGS
              1) Public Hearing regarding old Memorial Hospital building.

      G.      MAYOR'S REPORT

      H.      ITEMS FROM COUNCIL
              1) Recognition by Council
              2) Update on Community Events

      l.      CITY MANAGER'S REPORT
              I) Departmental Report
                 a) Fire
                 b) Community Services
                 c) Development Services

      J.      CONSENT AGENDA
              The Consent Items shall be considered for action as a whole, unless one or more Councilmembers
              objects. Approval of the consent agenda authorized the City Manager to implement each item in
              accordance with staff recommendations.
              1) Consider approval of minutes of the Work Session of june 19, 2017.
              2) Consider approval of minutes of the Work Session and Regular Meeting of june 26, 2017.
              3) Consider approval of invoices over $25,000. Finance Director Steve Groom
              4) Consider approval of modified Steven Bennett Swimming Pool Schedule for 2017. Community
                  Services Director Patsy Smith

      K.      REGULAR AGENDA
              1) Consider approval of Resolutions regarding Palestine Economic Development Corporation and
                 City of Palestine granting $25,000 to Texas State Railroad Authority, $11,500 to Palestine YMCA,
Case 6:17-cv-00533-JDK-JDL Document 1-3 Filed 09/18/17 Page 55 of 59 PageID #: 88




                  $9,500 to Palestine Tomorrow, and $4,000 to Palestine Youth Athletic Association. PEDC Asst.
                  Director Greg Laudadio

      L.      CLOSED SESSION
              Council will go into Closed Session pursuant to Section 551.071 to consult with city attorney; pending
              or contemplated litigation and Section 551.07 4 regarding personnel matters:
              1} Receive legal advice regarding issues related to amendments to Appendix A, Zoning, Section 3.3
                  Uses Definitions, Section 4.6 Zoning Use Graphs and Section 15 Special Provisions providing a
                  definition, adding special provisions and designating zoning districts for transitional housing.
              2) Update on litigation (City of Palestine v. jerry Laza, Cause No. DCCV16-359-349, 349th District
                  Court, Anderson Counl-y).
              3) Discuss the appointment, employment, evaluation, reassignment, duties, discipline, or dismissal
                  of Police Chief.
              4) Discuss the appointment, employment, evaluation, reassignment, duties, discipline, or dismissal
                  of City Manager.
              5) Discuss the appointment, employment, evaluation, reassignment, duties, discipline, or dismissal
                  of one or more city employees.

      M.      RECONVENE IN REGULAR SESSION
              1) Take any action necessary regarding amendments to Appendix A, Zoning, Section 3.3 Uses
                 Definitions, Section 4.6 Zoning Use Graphs and Section 15 Special Provisions providing a
                 definition, adding special provisions and designating zoning districts for transitional housing.
              2) Take any action necessary regarding the appointment, employment, evaluation, reassignment,
                 duties, discipline, or dismissal Police Chief.
              3) Take any action necessary regarding the appointment, employment, evaluation, reassignment,
                 duties, discipline, or dismissal City Manager.
              4) Take any action necessary regarding the appointment, employment, evaluation, reassignment,
                 duties, discipline, or dismissal of one or more city employees.                                  ·

      N.      ADJOURN

      CERTIFICATION

      I, the undersigned authority, do hereby certify that this Notice of Meeting was posted on the outdoor bulletin
      board at the main entrance to City Hall, 504 N. Queen Street:~~les.ti.Iw exas, on t~e following date and time:

                                a} 4·. 'LD       .n\ .                         /JLLl-\.vr vu·o_
                                                                           \
                                                                                  Teresa Herrera, City Secretary

      Jn compliance with the Americans with Disabilities Act, the City of Palestine will provide for
      reasonable accommodations for persons attending City Council meetings. Requests for
      accommodations or interpretive services must be made 48 hours prior to the meetings. Please contact
      the City Secretary's office for further information at 903·731-8414.
Case 6:17-cv-00533-JDK-JDL Document 1-3 Filed 09/18/17 Page 56 of 59 PageID #: 89



      Will Brule, Council District #1                                               Mike Alexander, City Manager
      Mitchell Jordan, Council District #2                                      Michael Homes, Asst City Manager
      Vickey L. Chivers, Council District #3                                        Teresa Herrera, City Secretary
      joe Bax-ter, Council District #4                                             Ronald D. Stutes, City Attorney
      Doug Smith, Council District#S
      Ann Connor, Council District #6
                                                  Steve Presley, Mayor

                                               NOTICE OF MEETlNG
                                              CITY COUNCIL AGENDA
                                             Monday, August 14, 2017
                                 Work Session@ 4:30p.m., City Hall Conference Room
                                 Regular Meeting@ 5:30p.m., City Council Chambers
                                                504 N. Queen Street
                                                 Palestine, Texas

      The City Council may meet in Closed Session regarding any item on this agenda if necessary, as
      permitted by Subchapter D of Chapter 551 of the Texas Government Code.

      WORK SESSION
            1) Code Enforcement 101

      REGULAR MEETING
      A.    CALL TO ORDER

      B.      INVOCATION AND PLEDGE OF ALLEGIANCE
              Invocation followed by Pledge of Allegiance

      C.      PROPOSED CHANGES OF AGENDA ITEMS

      D.      PUBLlC COMMENTS, PUBLIC RECOGNITION. AND ANNOUNCEMENTS

      E.      CONFLICT OF INTEREST DISCLOSURES

      F.      MAYOR'S REPORT

      G.      ITEMS FROMCOUNCIL
              1) Recognition by Council
              2) Update on Community Events

      H.      CITY MANAGER'S REPORT
              1) Update on Palestine Mall- Pad Sites
              2) Departmental Report
                  a) Fire
                 b) Development Services
                  c) Library
                  d} Finance (Municipal Court, Utility Billing, Check Register, and Sales Tax)
                  e) PEDC

      I.      CONSENT AGENDA
              The Consent [terns shall be considered for action as a whole, unless one or more Councilmembers
              objects. Approval of the consent agenda authorized the City Manager to implement each item in
              accordance with staff recommendations.
              1) Consider approval of minutes of the Regular Meeting of july 10, 2017.
              2) Consider approval of minutes of the Work Session of)uly 11, 2017.
              3) Consider approval of minutes of the Regular Meeting of july 24, 2017.
              4) Consider approval of invoices over $25,000. Finance Director Steve Groom
Case 6:17-cv-00533-JDK-JDL Document 1-3 Filed 09/18/17 Page 57 of 59 PageID #: 90




      J.   REGULAR AGENDA
           1) Discuss Effective and Rollback Rates for Fiscal Year 2017-18, adopt the proposed tax rate for
              Fiscal Year 2017-18, and schedule two public hearings for proposed tax rate. Finance Director
              Steve Groom
           2) Consider approval of Intergovernmental Cooperative Agreement betwe~n Anderson County and
              City of Palestine for the performance of governmental functions and services related to roads.
              Public Works Director Tim Perry
           3) Consider approval of expenditure in the amount of $60,139.30 for an 18' Tiger Bengal Boom
              Mower. Public Works Deputy Director Rob Thames
           4) Second reading and consider approval of a Resolution regarding Palestine Economic
              Development Corporation and City of Palestine notice of intention to grant $5,695.00 to Jerry
              Hatton for 2017 Fa1=ade Improvement Program for building located at 217 W. Oak Street. PEDC
              Asst. Director Greg Laudadio
           5) Consider an ordinance for a Budget Amendment for Fiscal Year 2016-2017 for $45,000 to Retail
              Fund. Assistant City Manager Michael Homes
           6) Consider a resolution of support and payment, authorizing submission of a request to the Texas
              Department of Housing and Community Affairs for participation in the HOME Grant Assistant
              City Manager Michael Homes

      K.     CLOSED SESSION
             Council will go into Closed Session pursuant to Section 551.087 deliberations regarding economic
             development, Section 551.074 regarding personnel matters, Section 551.072 deliberations regarding
             Real Estate, and Section 551.071 to consult with city attorney; pending or contemplated litigation.
             1) Update on litigation (City of Palestine v. ferry Laza, Cause No. DCCV16-359-349, 349th District
                 Court, Anderson County);
             2) Discuss "Project Safety";
           · 3) Discuss Palestine Mall pad sites;
             4) Discuss the appointment of a municipal court judge, possible adoption of procedures for
                 searching for a new municipal court judge, possible use of a search firm to recruit candidates,
                 possible appointment of a search committee, discussion of candidates for the municipal court
                 judge position, discussion of the municipal court judge duties and job description, discussion of
                 the desirable characteristics of a new municipal court judge, possible terms of a contract with a
                 new municipal courtjudge, or possible appointment of a new municipal court judge;
             5) Discuss the appointment, employment, evaluation, reassignment, duties, discipline, or dismissal
                 of City Prosecutor;
             6) Discuss the appointment, employment, evaluation, reassignment, duties, discipline, or dismissal
                 of Police Chief;
             7) Discuss the appointment, employment, evaluation, reassignment, duties, discipline, or dismissal
                 of City Attorney; and
             8) Discuss the appointment, employment, evaluation, reassignment, duties, discipline, or dismissal
                 of City Manager.

      L.    RECONVENE IN REGULAR SESSION
            1) Take any action necessary regarding "Project Safety";
            2) Take any action necessary regarding Palestine Mall pad sites;
            3) Take any action necessary regarding the appointment of a munidpal court judge, possible
               adoption of procedures for searching for a new municipal court judge, possible use of a search
               firm to recruit candidates, possible appointment of a search committee, discussion of candidates
               for the municipal court judge position, discussion of the municipal court judge duties and job
               description, discussion of the desirable characteristics· of a new municipal court judge, possible
               terms of a contract with a new municipal court judge, or possible appointment of a new
               municipal court judge;
            4) Take any action necessary regarding the appointment, employment, evaluation, reassignment,
               duties, discipline, or dismissal of City Prosecutor;
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              5) Take any action necessary regarding the appointment, employment, evaluation, reassignment,
                 duties, discipline, or dismissal of Police Chief;
              6) Take any action necessary regarding the appointment, employment, evaluation, reassignment,
                 duties, discipline, or dismissal of City Attorney; and
              7) Take any action necessary regarding the appointment, employment, evaluation, reassignment,
                 duties, discipline, or dismissal of City Manager.

      M.      ADIOURN

      CERTIFICATION

      I, the undersigned authority, do hereby certify that this Notice of Meeting was posted on the outdoor bulletin
      board at the main entrance to City Hall, 504 N. Queen Street, Palestine, Texas, on the following date and time:

      Thursday.August10,2017        at   t_:q5 P· f'H.                   G~~ Wa Jkvrl/a

      In compliance with the Americans with Disabilities Act, the City of Palestine will provide for
      reasonable accommodations for persons attending City Council meetings. Requests for
      accommodations or interpretive services must be made 48 hours prior to the meetings. Please contact
      the City Secretary's office for further information at 903-731-8414.
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                                          Cause No. DCCV16-356-349

      CITY OF PALES TINE, TEXAS,                       §           IN TilE DISTRICT COURT
                        Plaintiff,                     §
                                                       §
      vs.                                              §
                                                       §
      JERRYLAZA,                                       §
                                 Defondant.            §
                                                       §          ANDERSON COUNTY, TEXAS
      JERRYLAZA,                                       §
                                 Counter-plaintiff,    §
                                                       §
      VS.                                              §
                                                       §
      CITY OF PALES TINE, MIKE                         §
      ALEXANDER, AND RONALD STUTES,                    §
                        Counter-defendants.            §           349th JUDICIAL DISTRICT

                          ORDER GRANTING COUNTER-DEFENDANT CITY
                              OF PALESTINE'S MOTION TO STRIKE

               On the _ _ day of _ _ _ _ _ _, 2017, came to be heard the Motion to Strike

      filed by Counter-Defendant City of Palestine in the above-referenced case.

               The Court finds that the Motion is well-founded, that Defendant Jerry Laza's First

      and Second Amended Counterclaims are not timely, and are filed for the purpose of

      delaying the initial lawsuit.

               ACCORDINGLY, it is hereby ordered that the First and Second Amended

      Counterclaims filed by Counter-Plaintiff Jerry Laza on August 18, 2017 and August 21,

      2017 be and the same are hereby stricken.




                                                        JUDGE PRESIDING




      ORDER GRANTING COUNTER-DEFENDANT                     CITY    OF
      PALESTINE'S MOTION TO STRIKE- Page 1
      {A47/06319/0030/Wl518061.1 }
